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                         H.R. 2471, Funding For The People
        DIVISION-BY-DIVISION SUMMARY OF APPROPRIATIONS PROVISIONS
H.R. 2471 totals $1.5 trillion in discretionary resources and reflects conference agreements for the fiscal year
2022 appropriations bills. It furthers House Democrats’ commitment to investing For The People with
substantial increases to non-defense spending alongside responsible increases for defense-related programs.

In total, the 12 annual bills provide:

   •   $730 billion in nondefense funding, a $46 billion – 6.7 percent – increase over fiscal year 2021; and
   •   $782 billion in defense funding, a $42 billion – 5.6 percent – increase over fiscal year 2021.

Division A – Agriculture-Rural Development-FDA

Overview:

The 2022 Agriculture, Rural Development, Food and Drug Administration, and Related Agencies funding bill
provides discretionary funding of $25.125 billion – an increase of $1.426 billion, 6 percent – above 2021. In
total, the bill includes $234.2 billion for both discretionary programs funded on an annual basis and mandatory
programs such as the Supplemental Nutrition Assistance Program. The legislation:

   •   Tackles hunger and nutrition insecurity by expanding access to fruits and vegetables to 6.2 million
       women, infants and children through WIC and by ensuring 42 million people in SNAP-eligible families
       get the benefits they need. The bill also invests in the health of America’s kids through Child Nutrition
       programs, like school meals - which are now the healthiest source of food consumed in the United
       States.
   •   Grows opportunity and lifts up rural communities by increasing funding for rural broadband, connecting
       more communities to the internet through a program that last year got more than 100,000 people
       connected to the 21st century economy.
   •   Rebuilds our public health and consumer safety infrastructure with increased funding to address
       maternal and infant nutrition, including resources for the ‘Closer to Zero’ initiative to reduce exposure to
       toxic elements in babies’ and young children’s food, emerging food-related chemical and toxicological
       issues, drug safety oversight, as well as providing additional resources for in-person inspections in large
       foreign drug manufacturing countries, and drug and device supply chain monitoring and surveillance.
       The bill also invests in our public health infrastructure by modernizing FDA’s data infrastructure to
       better ensure the safety and security of the food and medical supply chain.
   •   Provides important investments to ensure equitable participation in USDA programs. In total, the bill
       provides more funding than the request to advance racial justice, including increases for extension,
       research, and capacity grants at 1890 land grants, 1994 land grants, and Hispanic serving institutions to
       help strengthen the pipeline for the future of agriculture. It also provides funding to improve outreach
       and program access to historically underserved communities and provides a healthy increase for
       USDA’s Office of Civil Rights above the request.
   •   Confronts the climate crisis with $78.3 million across USDA to address the impacts of climate change.
       These investments are aimed to tackle the climate crisis in farming and rural communities and include
       research to monitor, measure, and mitigate climate change, accelerate climate smart agriculture
       practices, reduce greenhouse gases, and advance clean energy technologies.
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Bill Summary:

Rural Development and Infrastructure – The bill provides a total of nearly $4 billion for rural development
programs. These programs help create an environment for economic growth by providing business and housing
opportunities and building sustainable rural infrastructure for the modern economy.

   •   Rural Broadband – The legislation invests over $550 million in the expansion of broadband service to
       provide economic development opportunities and improved education and healthcare services, including
       an additional $450 million for the ReConnect program. This is in addition to the $2 billion provided in
       Infrastructure Investment and Jobs Act. These significant investments in broadband reflect a
       commitment to enabling Americans in rural communities to access digital tools necessary to improve
       health, educational, and economic outcomes. Since 2019, more than 200,000 rural residents have gained
       access to broadband through these programs.
   •   Critical Infrastructure – The legislation includes responsible investments in infrastructure to help rural
       areas of the country access basic utilities. This includes $1.45 billion for rural water and waste program
       loans, and over $653 million in water and waste grants for clean and reliable drinking water systems and
       sanitary waste disposal systems, which will provide safe drinking water to millions of rural residents. An
       additional $7.9 billion in loan authority is provided for rural electric and telephone infrastructure loans.
   •   Rural Housing Loans and Rental Assistance – The bill provides a total of $30 billion in loan authority
       for the Single Family Housing Guaranteed Loan Program. The bill includes $1.25 billion in direct single
       family housing loans, meeting the estimated need for these loans, which provide home loan assistance to
       low-income rural families, many of whom would have few loan options for purchasing a home because
       of their geographical location. In addition, a total of $1.495 billion is provided for rental assistance and
       rental vouchers for affordable rental housing for low-income families and the elderly in rural
       communities to renew all existing rental assistance contracts. In FY 2020, Rural Development housing
       programs provided affordable housing to 138,331 rural homeowners and over 250,000 rental units.
   •   Business and Industry Loan Program – The bill includes $1.250 billion for the Business and Industry
       loan program, a 25% increase over fiscal year 2021. This will enable additional lending opportunities to
       business and non-profits in rural areas.

Food and Nutrition Programs – The legislation contains discretionary funding, as well as mandatory funding
required by law, for food and nutrition programs within the Department of Agriculture. This includes funding
for the Special Supplemental Nutrition Program for Women, Infants, and Children (WIC), the Supplemental
Nutrition Assistance Program (SNAP), and child nutrition programs.

   •   Women, Infants, and Children (WIC) – The bill provides $6 billion in discretionary funding for WIC,
       including $834 million to increase the amounts of fruits and vegetables in the WIC Food Package. In FY
       2022, WIC will serve an estimated 6.2 million women, infants, and children.
   •   Supplemental Nutrition Assistance Program (SNAP) – The bill provides $140.4 billion in required
       mandatory spending for SNAP, including $3 billion for the SNAP reserve fund, which will serve more
       than 42 million people. This fully funds participation, as well as the SNAP enhanced allotments
       authorized by the Families First Coronavirus Response Act.
   •   Child nutrition programs – The bill provides $26.9 billion in funding for child nutrition programs.
       This is an increase of $1.77 billion above the FY 2021 enacted level. As kids return to the classroom,
       this funding will support more than 5.2 billion school lunches and snacks. In addition, the bill provides
       $45 million for the Summer EBT program, $30 million for school kitchen equipment grants, and $6
       million for school breakfast expansion grants.

International Food Assistance Programs – The legislation contains $2.2 billion for international food aid and
to promote U.S. agricultural exports overseas. This includes $1.74 billion for Food for Peace grants and $237
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million for the McGovern-Dole International Food for Education and Child Nutrition program. In 2021, these
programs, which work to reduce famine and increase food security overseas, provided food assistance across six
continents.

Marketing Programs – The bill provides $228 million, $39 million above the FY 2021 enacted level and $14
million above the request, to facilitate the movement of agriculture products and open market opportunities.
This includes $20.3 million for the National Organic Program to protect the integrity of the USDA Organic
label and $25.6 million for the oversight and enforcement of the Packers and Stockyards Act. The bill also
provides $20.4 million in discretionary funds to the Agricultural Marketing Service and Rural Development for
the Local Agriculture Market Program to continue supporting local food and value-added agriculture. In
addition, the bill provides $25 million to support dairy business innovation initiatives.

Agricultural Research – The bill provides $3.5 billion – $217 million above the FY 2021 enacted level – for
agriculture research programs, including the Agricultural Research Service (ARS) and the National Institute of
Food and Agriculture (NIFA). This funding will support research at all ARS facilities to help mitigate and stop
devastating livestock and crop diseases, improve food safety and water quality, increase production, and combat
antimicrobial resistance. This funding also includes important research investments in U.S. land-grant colleges
and universities, including a significant increase for the 1890 institutions, and for the Agriculture and Food
Research Initiative, the U.S. Department of Agriculture’s premier competitive research program.

Farm Programs – The legislation provides $1.87 billion for farm programs, which is $44 million above the FY
2021 enacted level. This includes $61 million to resolve ownership and succession of farmland issues, also
known as heirs’ property issues. This funding will continue support for various farm, conservation, and
emergency loan programs, and help American farmers and ranchers. It will also meet estimates of demand for
farm loan programs.

Animal and Plant Health – The legislation includes $1.113 billion – $46 million above the FY 2021 enacted
level – for the Animal and Plant Health Inspection Service. This funding will support programs to help control
or eradicate plant and animal pests and diseases that can be crippling to U.S. producers. The funding level
provides increases that will help address harmful pests and diseases such as cotton pests, spotted lanternfly, and
chronic wasting disease, and support the growing needs of veterinary biological products such as vaccines and
diagnostic tests while maintaining increases from past years for citrus greening. The bill also provides $250
million for the Agriculture Quarantine and Inspection Services Program to continue activities at the U.S.
borders and ports of entry to intercept any foreign agricultural pests and diseases that could affect U.S.
agriculture, trade and commerce.

Conservation Programs – The bill provides $1.005 billion to help farmers, ranchers, and other private
landowners conserve and protect their land. This includes $101 million for infrastructure for watershed and
flood prevention and watershed rehabilitation projects, $8.5 million for the Urban Agriculture and Innovative
Production Program, and $7 million for the Healthy Forests Reserve Program.

Food Safety and Inspection Service – The legislation includes $1.109 billion for food safety and inspection
programs. These mandatory inspection activities help ensure the safety and productivity of the country’s meat
and poultry industry, and keep safe, healthy food on American tables. The funding provided will maintain more
than 8,700 frontline inspection personnel for meat, poultry, and egg products at more than 6,500 facilities across
the country.

Food and Drug Administration (FDA) – FDA receives a total of $3.3 billion in discretionary funding in the
bill, an increase of $102 million above the FY 2021 enacted level. Total funding for FDA, including revenue
from user fees, is $6.2 billion. Within this total, the Committee provides a targeted increase of $29 million to
address the opioid crisis, medical supply chain surveillance, rare cancers, and increasing and strengthening in
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person inspections of foreign drug manufacturers. It also includes a $29.5 million increase to better avoid or
more quickly respond to food outbreaks, improve the animal food inspection system, and addresses heavy
metals in baby food. The bill also appropriates $50 million to accelerate medical product development as
authorized in the 21st Century Cures Act.

Commodity Futures Trading Commission (CFTC) – The bill provides $382 million for the CFTC – $78
million above the FY 2021 enacted level.

Division B – Commerce-Justice-Science
Overview:

The 2022 Commerce, Justice, Science, and Related Agencies funding bill provides $75.8 billion. The
legislation:

   •   Creates good-paying American jobs with investments in economic development in distressed
       communities with support for small businesses, including small and medium sized American
       manufacturers
   •   Strengthens communities by supporting local law enforcement while bolstering police and criminal
       justice reform and expanding gun violence prevention efforts
   •   Addresses gender-based violence with strong increases for Violence Against Women Act prevention and
       prosecution programs, as well as efforts to reduce the backlog of unprocessed rape kits
   •   Confronts the climate crisis with strong funding for climate resilience and research at NASA, the
       National Oceanic and Atmospheric Administration, and the National Science Foundation

Bill Summary:

U.S. Department of Commerce – $9.9 billion in net discretionary funding for the Department of Commerce,
an increase of $989 million above the FY 2021 enacted level.

   •   International Trade Administration (ITA) – $570 million, $29 million above the FY 2021 enacted
       level. The total includes no less than the fiscal year 2021 level for ITA Global Markets to help create
       jobs here at home by increasing U.S. exports and no less than $105.5 million for ITA Enforcement and
       Compliance to protect U.S. industries against unfair foreign trade practices.

   •   Bureau of Industry and Security (BIS) – $141 million, an increase of $8 million above FY 2021 to
       advance U.S. national security through effective export control.

   •   Economic Development Administration (EDA) – $373.5 million, an increase of $27.5 million above
       FY2021. This includes $120.5 million for EDA’s Public Works program, which supports brick-and-
       mortar projects in distressed communities across the nation, $41.5 million for Assistance to Coal
       Communities, an increase of $8 million and $45 million for the Regional Innovation Program, an
       increase of $7 million, to help create jobs by establishing and expanding region-focused innovative
       technology business endeavors. Additionally, $2 million is provided for STEM Apprenticeships to help
       align the skills of workers and the needs of employers.

   •   Minority Business Development Agency (MBDA) – $55 million, an increase of $7 million above FY
       2021, is provided for MBDA to support minority businesses around the country.
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   •   U.S. Patent and Trademark Office (PTO) – $4.1 billion, an increase of $363.1 million above FY
       2021, to help protect new ideas and investments in American innovation and creativity, and to promote
       technological progress and achievement.

   •   Manufacturing Extension Partnership (MEP) Program – $158 million, $8 million above FY 2021 to
       help small and medium sized American manufacturers create and preserve jobs.

   •   National Oceanic and Atmospheric Administration (NOAA) – $5.88 billion, an increase of $447
       million above FY 2021, including:

           o    Climate Research – $200 million, an increase of $18 million above FY 2021, including an
                increase of $10 million to provide actionable climate information to inform Americans’ decisions
                about how to adapt to the changing climate.

           o    NOAA’s National Marine Fisheries Service (NMFS) – $1.02 billion for NMFS operations, an
                increase of $51 million above FY 2021, including a $6 million increase to support the President’s
                initiative to build more offshore wind farms and an increase of $16 million to support efforts to
                protect the critically endangered North Atlantic right whale.

           o    National Weather Service – $1.17 billion for operating expenses, an increase of $74 million
                above FY 2021. In addition, this Act provides an increase of $70 million over FY 2021 to
                procure future weather satellites, which are essential for accurate weather forecasting.

U.S. Department of Justice (DOJ) – $35.2 billion overall for the Department of Justice, which is $1.4 billion
above the FY2021 enacted level.

   •   Emmett Till Unsolved Civil Rights Crimes Reauthorization Act of 2016 – $14.5 million is provided,
       as authorized, including: $5 million within the Civil Rights Division; $5 million within the Federal
       Bureau of Investigation; $1.5 million within the Community Relations Service; and $3 million within
       State and Local Law Enforcement Assistance.

   •   Executive Office for Immigration Review -- $760 million, an increase of $26 million above FY 2021,
       including $24 million for the Legal Orientation Program.

   •   Federal Bureau of Investigation – $10.77 billion, an increase of $454 million above the FY 2021
       enacted level and $492.5 million above the President’s budget request.

   •   Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) – $1.53 billion, an increase of $47.2
       million above the FY 2021 enacted level.

   •   Federal Bureau of Prisons (BOP) – $8.1 billion, an increase of $265 million above the FY 2021
       enacted level and $251 million above the President’s budget request.

   •   First Step Act – The agreement fully funds the requested $409.5 million for programs and activities
       authorized by the First Step Act of 2018, including medication-assisted treatment.

   •   Task Force on Law Enforcement Oversight– The agreement reminds the Attorney General to comply
       with congressional direction and use the $5 million provided in fiscal year 2021 to establish a Task
       Force on Law Enforcement Oversight, comprised of representatives from multiple Justice Department
       components, in consultation with law enforcement, labor, and community-based organizations to
       coordinate the detection and referral of complaints regarding incidents of alleged law enforcement
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       misconduct.

   •   Database on Use of Force and Officer Misconduct – The agreement reminds the Attorney General to
       comply with congressional direction and use the $5 million appropriated in fiscal year 2021 for the
       development and deployment of databases to track excessive use of force and officer misconduct, to be
       developed in consultation with State and local law enforcement agencies, community organizations, and
       advocacy groups, including those that advocate for the preservation of civil liberties and civil rights.

   •   Grants to State and Local Law Enforcement – $3.9 billion is provided, an increase of $506.4 million
       above FY 2021. This includes: $674.5 million for Byrne JAG; $512 million for Community Oriented
       Policing Services (COPS) programs; $201 million to address sexual assault kit and other DNA evidence
       backlogs; $115 million for Second Chance Act programs; $572.5 million for grant programs to address
       substance use disorders; $135 million for the STOP School Violence Act; $575 million for Violence
       Against Women Act (VAWA) prevention and prosecution programs; $95 million for grants to improve
       the NICS firearms background check system; $50 million for a new Community Violence Intervention
       and Prevention initiative; and nearly $300 million in community projects to fight crime and improve
       public safety in communities across the country.

National Aeronautics and Space Administration (NASA) – $24 billion is provided, an increase of $770
million above the FY 2021 enacted level, including:

   •   $7.6 billion for NASA’s Science Mission Directorate, an increase of $313.4 million above the FY2021
       enacted level, to enable better scientific information about the Earth and its changing climate, as well as
       to further our understanding of our solar system and beyond. These funds include support for the James
       Webb Space Telescope, which launched in December and will soon begin taking pictures of parts of the
       universe never previously observed.

   •   $880.7 million for Aeronautics research, an increase of $52 million above FY 2021, to continue efforts
       to improve environmental sustainability of air travel through increased fuel efficiency and electric flight,
       as well to improve passenger safety.

   •   $137 million for NASA’s STEM Engagement education initiatives, an increase of $10 million above
       FY 2021, to enable NASA to inspire young people to pursue future careers in science and engineering.
       This amount includes funding significant increases for the Space Grant consortium, which benefits all
       50 states, and the Minority University Research and Education Project.

   •   Funding to jumpstart development of commercial low-Earth orbit space station design and
       development. Funding will help NASA promote new, private space stations to replace the International
       Space Station, which is scheduled for retirement in 2031.

National Science Foundation (NSF) – $8.84 billion, an increase of $351 million above the FY 2021 enacted
level to support cutting edge research including:

   •   NSF Research and Related Activities – $7.2 billion is provided, an increase of $250 million above FY
       2021.

   •   Education and Human Resources -- $1.01 billion is provided, an increase of $38 million above FY
       2021.

Legal Services Corporation – $489 million, $24 million above the FY 2021 enacted level to provide legal
assistance to underserved communities.
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Equal Employment Opportunity Commission – $420 million, $15.5 million above the FY 2021 enacted
level.

International Trade Commission (ITC) – $110 million, $7 million above the FY 2021 enacted level.

Division C – Defense
Overview:

For 2022, the bill provides $728.5 billion in discretionary spending, an increase of $32.5 billion above 2021.
The legislation:

   •   Protects our national security, preserves our domestic advanced manufacturing base to support jobs and
       economic growth, and invests heavily in research and development.
   •   Eliminates the Overseas Contingency Operations budget gimmick.
   •   Promotes democracy by countering China with strong funding to protect a free and open Indo-Pacific.
   •   Supports working families by funding the President’s executive order of a $15 minimum wage for
       Department of Defense personnel.
   •   Confronts the climate crisis with historic investments for clean energy and climate adaptation to protect
       facilities, readiness, and global security.
   •   Addresses gender-based violence with funding to tackle sexual assault in the military and directs DoD to
       report on extremist activities.

To respond to Russian aggression in Ukraine, the bill includes $300 million for the Ukraine Security Assistance
Initiative and $300 million for allies and partners in the region, including $180 million for the Baltic Security
Initiative, $30 million for Poland, $30 million for Romania, $20 million for Bulgaria, and $40 million for
Georgia.

Bill Summary:

Military Personnel
Total: $166.8 billion

The FY 2022 Military Personnel recommendation is $166.8 billion in funding for active, reserve and National
Guard military personnel, a decrease of $569 million below the budget request and an increase of $8.9 billion
above the FY 2021 enacted level.

   •   Provides full funding necessary to support the proposed 2.7 percent military pay raise.
   •   Increases funding by $151.5 million above the President’s request for the Department and Services’
       Sexual Assault Prevention and Response programs, for a total of $539.7 million. This includes $97
       million for implementation of the Independent Review Commission on Sexual Assault in the Military,
       $47 million for the Special Victims’ Counsel, and an increase of $7.5 million above the request for the
       Department’s Sexual Assault Prevention and Response Office.
   •   Funds active duty end strength of 1,348,040, a decrease of 335 below current year and equal to the
       authorized level. Funds reserve component end strength of 799,500, a decrease of 2,500 below current
       year and equal to the request and the authorized level.
           o Army totals: 485,000 active duty, a decrease of 900 below current year and equal to the request;
              189,500 reserve, a decrease of 300 below current year and equal to the request; and 336,000
              Guard, a decrease of 500 below current year and equal to the request.
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           o Navy totals: 346,920 active duty, a decrease of 880 below current year and equal to the
             authorized level; and 58,600 reserve, a decrease of 200 below current year and equal to the
             request.
           o Marine Corps totals: 178,500 active duty, a decrease of 2,700 below current year and equal to the
             request; and 36,800 reserve, a decrease of 1,700 below current year and equal to the request.
           o Air Force totals: 329,220 active duty, a decrease of 4,255 below current year and equal to the
             authorized level; 70,300 reserve, equal to current year and the request; and 108,300 Guard, an
             increase of 200 above current year and equal to the request.
           o Space Force totals: 8,400 active duty, equal to the authorized level and to the request.

Operation and Maintenance
Total: $256.3 billion

The FY 2022 Operation and Maintenance recommendation is $256.3 billion, an increase of $2.6 billion above
the budget request and an increase of $64 billion above the FY 2021 base enacted level.

   •   Provides $30.7 billion to the Departments of the Army, Navy, Marine Corps, and Air Force for depot
       maintenance.
   •   Provides $1.5 billion for Environmental Restoration activities, $486.5 million above the request and of
       which $210 million are for costs associated with PFOS/PFOA cleanup. In addition, provides $15 million
       for study and assessment of health implications of PFOS/PFOA contamination in drinking water.
   •   Provides an increase of $1.6 billion in Facilities Sustainment, Repair and Modernization programs
       across Active, Reserve and Guard components.
   •   Provides an additional $120 million for climate infrastructure programs.
   •   Provides $264 million in added funds for the Navy’s Shipyard Infrastructure Optimization Program
       (SIOP).
   •   Provides $9.4 billion to fund SOCOM’s operation and maintenance requirements.
   •   Provides $1 million to the Army for the renaming of installations, facilities, roads and streets that bear
       the name of confederate leaders and officers.
   •   Provides increases for National Guard Youth Challenge ($210m); and Starbase ($42 million).
   •   Provides an additional $40 million for the Office of Defense Local Community Cooperation for the
       Defense Community Infrastructure Program.
   •   Provides $50 million for Impact Aid and $20 million for Impact Aid for those with disabilities.
   •   Provides $8.6 million for gender advisor programs.
   •   Provides $50 million for the Procurement Technical Assistance Program.
   •   Provides $345 million for the Cooperative Threat Reduction Program.
   •   Provides $75 million for noise mitigation tools for communities.
   •   Provides $5 million for ex-gratia payments, including for families of the victims of the August 29, 2021,
       air strike in Kabul, Afghanistan.

Security Cooperation Programs
   • $300 million for the Ukraine Security Assistance Initiative.
   • $1.3 billion for International Security Cooperation Programs, including:
           o $300 million to shore up the defenses of U.S. allies and partners facing of Russian aggression,
              including $180 million for Estonia, Latvia, and Lithuania through the Baltic Security Initiative;
              $30 million for Poland; $30 million for Romania; $20 million for Bulgaria; and $40 million for
              Georgia.
           o $165 million for programs with countries in the Africa Command area of responsibility, $60
              million above the request.
           o $90 million for programs with Jordan.
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          o Supports international security cooperation programs with countries in Indo-Pacific Command,
               including Maritime Security Programs.
   •   Requires the Secretary of Defense, in coordination with the Secretary of State, to provide integrated
       security cooperation strategies for key U.S. partner nations.
   •   Up to $500 million for Jordan, including not less than less than $150 million for reimbursements for
       enhanced border security.
   •   $50 million for Coalition Support Funds, including support for U.S. allies and partners who fought in
       Afghanistan.

Counter-ISIS Train and Equip Fund
   • $500 million to support the Iraqi Security Forces, Kurdish Peshmerga, and the Syrian Democratic Forces
      counter ISIS.
   • Requires the Secretary of Defense to ensure elements are appropriately vetted and receiving
      commitments to promote respect for human rights and the rule of law.
   • No funds may be used with respect to Iraq or Syria in contravention of the War Powers Resolution.
   • No funds to establish any military base for the purpose of providing for the permanent stationing of U.S.
      Armed Forces in Iraq.
   • No funds to exercise U.S. control over any oil resource of Iraq or Syria.

Overseas Humanitarian, Disaster, and Civic Aid
   • Provides $160 million for foreign disaster relief, humanitarian assistance, and the humanitarian mine
      action program, $50 million above the budget request.

Procurement
Total: $144.9 billion

For FY 2022, the bill provides $144.9 billion, an increase of $12.4 billion above the budget request and an
increase of $8.4 billion above the FY 2021 base enacted level.
    • Provides $12.4 billion above the total funding request for increased investments in ground vehicles,
       aircraft, ships, munitions, and other equipment.

Aircraft
    • Funds 12 F/A-18E/F Super Hornet aircraft ($977 million).
    • Funds the request of 85 F-35 aircraft ($8.5 billion).
    • Funds 12 F-15EX aircraft to recapitalize the F-15C/D fleet ($1.1 billion).
    • Funds the request of 14 KC-46 tankers ($2.3 billion).
   • Funds the request of 14 HH-60W combat rescue helicopters ($744 million).
   • Funds 29 C/KC/MC-130J aircraft, 20 more than the request ($3.1 billion), including 16 C-130J aircraft
       for the Air National Guard and 4 C-130J aircraft for the Air Force Reserve.
   • Funds 12 MQ-9 Reaper air vehicles for the Marine Corps and Air Force, six more than the request ($365
       million).
   • Funds the second lot of CH-47F Block II Chinook aircraft and long-lead funding for the third lot to
       ensure that the Army stays on schedule with the program of record ($170 million).
    • Provides $211.5 million above the request to fund a total of 33 UH/HH-60M Blackhawk helicopters
       ($842 million).
    • Funds the requested 30 remanufactured AH-64 Apache helicopters ($469 million).
    • Funds the request of five E-2D Advanced Hawkeye aircraft ($749.6 million).
    • Funds 11 CH-53K helicopters, two more than the request ($1.5 billion).
    • Funds 12 V-22 helicopters, four more than the request (1.1 billion).
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   •   Provides $166 million for SOCOM’s Armed Overwatch Program.
   •   Provides $29 million for a SOCOM MH-60 resulting from a battle loss.

Shipbuilding
   • Provides $26.7 billion to procure 13 Navy ships, $4.1 billion above the request.
   • Funds are provided for two DDG-51 guided missile destroyers, two SSN-774 attack submarines, one
       Frigate, two TAO Fleet Oiler, two towing, salvage, and rescue ships, one T-AGOS(X) auxiliary general
       ocean surveillance ship, one expeditionary sea base, one expeditionary medical ship, and one
       expeditionary fast transport.

Vehicles/Force Protection
   • Provides $139 million above the request to procure an additional 41 Stryker A1 combat vehicles for a
       total of 228 vehicles ($1.08 billion).
   • Provides $175 million above the request to upgrade a total of 90 Abrams tanks to the M1A2 SEPv3 tank
       variant ($1.15 billion).
   • Provides $227 million above the request for an additional 23 Paladin Integrated Management self-
       propelled howitzers ($663 million).
   • Provides an additional $100 million for Army National Guard HMMWV modernization.
   • Provides $183 million above the request to install Anti-lock Brake System/Electronic Stability Control
       (ABS/ESC) kits on existing Army HMMWV vehicles for improved safety.
   • Provides $374 million above the request to accelerate fielding of Counter-Small Unmanned Aerial
       System equipment ($434 million).
   • Fully funds the Army’s request for production of 23 Mobile Protected Firepower systems ($287
       million).
   • Fully funds the Army’s request for 2,744 Joint Light Tactical Vehicle trucks and trailers ($574 million).
   • Provides $78 million above the request for autonomous, lightweight Counter Unmanned Aerial Systems
       for Special Operations Forces.

Other
   • Provides $47 million above the request for Defense Production Act Purchases to ensure the timely
      availability of domestic industrial base capabilities essential for the national defense ($388 million).
   • Provides $1,327 million to procure five National Security Space Launch services.
   • Provides $853 million to procure three GPS IIIF spacecraft.
   • Provides $200 million to fully support Israeli Cooperative procurement programs (Iron Dome, David’s
      Sling, and Arrow).
   • Includes $950 million for the National Guard and Reserve Equipment Account (NGREA).

Research, Development, Test and Evaluation (RDT&E)
Total: $119.2 billion

For FY 2022, the bill provides $119.2 billion, an increase of $7.2 billion above the budget request and an
increase of $12.1 billion above the FY 2021 base enacted level.
    • Invests in basic and applied scientific research, development, test and evaluation of new technologies
       and equipment, and supports the research community so forces will have the systems and equipment for
       tomorrow’s challenges.

Aircraft
    • Fully funds the continued development and modernization of the F-35 Joint Strike Fighter ($2.1 billion).
    • Fully funds the continued development of the Air Force’s B-21 bomber ($2.9 billion).
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   •   Fully funds the Air Force’s Next Generation Air Dominance program ($1.5 billion).
   •   Provides $77.5 million above the request for the Army’s Future Long Range Assault Aircraft ($521
       million).
   •   Fully funds the continued development and testing of the CH-53K helicopter ($257 million).

Vehicles and Ground Forces
   • Provides $15 million above the request to support the Army’s Long Range Hypersonic Weapon ($315
       million).
   • Fully funds the Army’s Mobile Medium Range Missile ($286 million).
   • Fully funds the Army’s Precision Strike Missile ($188 million).

Defense Advanced Research Project Agency (DARPA)
   • Provides $3.87 billion for DARPA research programs.

Other
   • Provides an additional $30 million for PFAS remediation and disposal technology.
   • Provides an additional $28.7 million for PFAS destruction technologies.
   • Provides an additional $20 million for AFFF replacement, disposal, and cleanup technology.
   • Provides $300 million for the Israeli cooperative research and development programs, including David’s
      Sling and Arrow-3.
   • Provides $246million for the Global Positioning System IIIF program.
   • Provides $402 million for the Global Positioning System III Operational Control Segment.
   • Provides $434 million for Global Positioning System user equipment.
   • Provides $202 million for National Security Space Launch.
   • Provides $2.34 billion for Next Generation Overhead Persistent Infrared.
   • Provides $2.5 billion for the Ground Based Strategic Deterrent and $599 million for the Long Range
      Standoff Weapon.
   • Provides $1.3 billion for the Navy’s Conventional Prompt Strike program.

Revolving and Management Funds
Total: $2.017 billion

The FY 2022 Revolving and Management Funds recommendation is $2.017 billion in base funding, which is
$115 million above the budget request and an increase of $544 million above the FY 2021 enacted level.
   • Fully funds the Defense Commissary Agency to ensure servicemembers and their families receive
      continued savings for food and household goods as part of the military pay and benefits package.

Other Department of Defense Programs

Defense Health Programs
   • $37.35 billion for medical and health care programs of the Department of Defense. Within this total,
       adds $577.5 million for cancer research. The total amount is distributed as follows:
          o $150 million for the breast cancer research program;
          o $110 million for the prostate cancer research program;
          o $50 million for the kidney cancer research program;
          o $45 million for the ovarian cancer research program;
          o $20 million for the lung cancer research program;
          o $40 million for the melanoma research program;
          o $15 million for the pancreatic cancer research program;
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            o $17.5 million for the rare cancer research program; and
            o $130 million for the cancer research program.
            o Adds $175 million for the peer-reviewed traumatic brain injury and psychological health
              research program.
            o Adds $40 million for spinal cord research.
            o Adds $40 million for the joint warfighter medical research program.
            o Adds $30 million for a new toxic exposures research line.

Chemical Agents and Munitions Destruction
   • $1.09 billion, as requested.

Drug Interdiction and Counter-Drug Activities
   • $926 million, including $194 million for the National Guard Counter-Drug Program.

Office of the Inspector General
    • $438.4 million, as requested.

General Provisions
   • $200 million for an Artificial Intelligence Development Fund.
   • $50 million to build a workforce to tackle Artificial Intelligence-specific challenges.

Oversight and Reform Provisions
  • No funds may be used in contravention of the War Powers Resolution.
  • No funds for the Taliban.
  • No funds for the Russian state-owned arms export agency Rosoboronexport.
  • Provides that nothing in this Act may be construed as authorizing the use of force against Iran or North
     Korea.
  • Requires the Secretary of Defense to notify Congress not later than 15 days after a foreign base is opened
     or closed.
  • Directs the Secretary of Defense to provide all remaining documents to judicial authorities in El Salvador
     investigating the El Mozote massacre.
  • Provides $1 million to the Army for the renaming of installations, facilities, roads and streets that bear the
     name of confederate leaders and officers since the Army has the preponderance of the entities to change.
  • Includes over $500 million to construct, renovate, repair, or expand public schools on military
     installations and requires laborers and mechanics to be paid prevailing wages.
  • Includes $3.3 billion in prior year rescissions.

Support to Israel
  • In addition to the amount covered in the MOU, the bill provides an additional $1 billion for the Iron
     Dome defense system to counter short-range rocket threats and to replace missile interceptors from the
     May 2021 conflict.

Division D – Energy & Water Development
Overview:

The 2022 Energy and Water Development and Related Agencies funding bill provides $54.97 billion, an
increase of $3.2 billion above the fiscal year 2021 enacted level. The legislation:
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   •   Creates tens of thousands of good-paying jobs with a focus on deploying clean energy technologies and
       the green jobs of tomorrow in communities across the country
   •   Confronts the climate crisis with more than $14 billion of transformative investments in clean energy
       and science, which will help develop clean, affordable, and secure American energy
   •   Rebuilds our nation’s water infrastructure, critical to protecting communities from more frequent and
       severe storms and addressing the worsening drought

Bill Summary:

Army Corps of Engineers – For fiscal year 2022, the bill provides a total of $8.3 billion, an increase of $548
million above the fiscal year 2021 level and an increase of $1.6 billion above the budget request.

   •   Investigations – The bill provides $143 million, an increase of $37.2 million above the request.
   •   Construction – The bill provides $2.49 billion, an increase of $700 million above the request.
   •   Operation and Maintenance – The bill provides $4.57 billion, an increase of $720 million above the
       fiscal year 2021 level and $2.07 billion above the request.
   •   Harbor Maintenance Trust Fund projects receive an estimated $2.05 billion, an increase of $370
       million above fiscal year 2021 and $424.1 million above the request. The bill provides these funds in
       accordance with the budgetary adjustments made by the CARES Act and the Water Resources
       Development Act of 2020.
   •   Funds the Water Infrastructure Finance and Innovation Program to provide $500 million in loans
       for non-federal water infrastructure.

Department of the Interior and Bureau of Reclamation – For fiscal year 2022, the bill provides a total of
$1.92 billion, an increase of $233 million above the fiscal year 2021 level and $371 million above the budget
request.

   •   Central Utah Project – The bill provides $23 million, an increase of $2 million above the fiscal year
       2021 level and $3 million above the request.
   •   Bureau of Reclamation – The bill provides $1.9 billion, an increase of $231 million above the fiscal
       year 2021 level and $368 million above the request.

Department of Energy – For fiscal year 2022, the bill provides a total of $44.9 billion for the Department, an
effective increase of $2.9 billion above the fiscal year 2021 level after accounting for one-time rescissions of
emergency funds in fiscal year 2021.

   •   Energy Efficiency and Renewable Energy – The bill provides a record-level $3.2 billion, an increase
       of $338 million above the fiscal year 2021 level. This funding provides for clean, affordable, and secure
       energy and ensures American leadership in the transition to a global clean energy economy.
   •   Cybersecurity, Energy Security, and Emergency Response – The bill provides $185.8 million, an
       increase of $29.8 million above the fiscal year 2021 level. This funding provides for efforts to secure the
       nation’s energy infrastructure against all hazards, reduce the risks of and impacts from cybersecurity
       events, and assist with restoration activities.
   •   Electricity – The bill provides $277 million, an increase of $65.3 million above the fiscal year 2021
       level. This funding will advance technologies to increase the resiliency and efficiency of the nation’s
       electricity delivery system with capabilities to incorporate growing amounts of clean energy
       technologies.
   •   Nuclear Energy – The bill provides $1.65 billion, an increase of $147 million above the fiscal year
       2021 level. The funding invests in research, development, and demonstration activities that develop the
       next generation of clean and safe reactors, further improve the safety and economic viability of our
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       current reactor fleet, and contribute to the nation’s long-term leadership in the global nuclear power
       industry.
   •   Fossil Energy and Carbon Management – The bill provides $825 million, an increase of $75 million
       above the fiscal year 2021 level. This funding advances carbon reduction and mitigation in sectors and
       applications that are difficult to decarbonize, including the industrial sector, with technologies and
       methods such as carbon capture and storage, hydrogen, and direct air capture, while assisting in
       facilitating the transition toward a net-zero carbon economy and rebuilding a U.S. critical minerals
       supply chain.
   •   Science – The bill provides $7.475 billion, an increase of $449 million above the fiscal year 2021 level
       and $35 million above the request. The Office of Science funds basic science research in physics,
       biology, chemistry, and other science disciplines to expand scientific understanding and secure the
       nation’s global leadership in energy innovation. The supported research supports nearly 28,000
       researchers located at over 300 institutions, spanning all 50 states. The supported scientific user facilities
       serve over 36,000 users.
   •   Nuclear Waste Disposal – The bill provides $27.5 million for interim storage of nuclear waste and
       oversight of the Nuclear Waste Fund.
   •   Advanced Research Projects Agency—Energy – The bill provides $450 million, an increase of $23
       million above the fiscal year 2021 level. This funding supports research aimed at rapidly developing
       energy technologies that are capable of significantly changing the energy sector to address the nation’s
       critical economic, environmental, and energy security challenges.
   •   Indian Energy Policy and Programs – The bill provides $58 million, an increase of $36 million above
       the fiscal year 2021 level. This funding will provide technical assistance, direct and remote education,
       policy research and analysis, and financial assistance to Indian tribes, Alaska Native Village and
       Regional corporations, and Tribal Energy Resource Development Organizations.
   •   National Nuclear Security Administration – The bill provides $20.7 billion for DOE’s nuclear
       security programs. This funding will maintain a safe, secure, and credible nuclear deterrent while
       addressing the threat of nuclear proliferation and terrorism. This includes:
            o Weapons Activities – $15.92 billion to maintain a safe and reliable nuclear deterrent.
            o Defense Nuclear Nonproliferation – $2.35 billion, an increase of $94 million above the fiscal
                year 2021 level. This funding secures nuclear material at home and abroad, combats the threat of
                nuclear terrorism, and provides emergency response capabilities.
            o Naval Reactors – $1.9 billion, an increase of $234 million above the fiscal year 2021 level, to
                continue safe and reliable operation of the Navy’s nuclear-powered fleet.
   •   Environmental Management – The bill provides $7.9 billion, an increase of $318 million above the
       fiscal year 2021 level. This funding is used for nuclear cleanup work at 16 sites across the country. This
       includes:
            o Non-Defense Environmental Cleanup – $333.9 million, an increase of $14.7 million above the
                fiscal year 2021 level.
            o Uranium Enrichment Decontamination and Decommissioning – $860 million, an increase of
                $19 million above the fiscal year 2021 level and $28.7 million above the request.
            o Defense Environmental Cleanup – $6.71 billion, an increase of $284 million above the fiscal
                year 2021 level.
   •   Loan Guarantee Programs – Maintains funding consistent with the fiscal year 2021 levels.
   •   Power Marketing Administrations – The bill provides the net budget request levels for the
       Southeastern Power Administration, Southwestern Power Administration, and Western Area Power
       Administration.

Independent Agencies
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   •   Nuclear Regulatory Commission – The bill provides a total net appropriation of $131 million, equal to
       the request. This funds regulatory activities to ensure the safe use of nuclear reactors and radioactive
       materials while protecting people and the environment.
   •   Defense Nuclear Facilities Safety Board – The bill provides $36 million, an increase of $5 million
       above the fiscal year 2021 level. The Board provides recommendations regarding public health and
       safety matters at Department of Energy defense nuclear facilities.
   •   Appalachian Regional Commission – The bill provides $195 million, an increase of $15 million above
       the fiscal year 2021 level. The Commission funds efforts in the Appalachian Region to promote
       economic and community development, education and job training, and critical infrastructure.
   •   Delta Regional Authority – The bill provides $30.1 million, equal to the request. This funding targets
       the economic development needs of distressed portions of the Mississippi River Delta Region.
   •   Denali Commission – The bill provides $15.1 million, equal to the request. This funding provides
       critical utilities, infrastructure, health services, and economic support throughout Alaska.
   •   Northern Border Regional Commission – The bill provides $35 million, an increase of $5 million
       above the fiscal year 2021 level and $4.9 million above the request. This funding targets the economic
       development needs of distressed portions of Maine, New Hampshire, Vermont, and New York.
   •   Southeast Crescent Regional Commission – The bill provides $5 million, an increase of $4 million
       above the fiscal year 2021 level and $2.5 million above the request. This funding targets the economic
       development needs of distressed portions of Alabama, Florida, Georgia, Mississippi, North Carolina,
       South Carolina, and Virginia.
   •   Southwest Border Regional Commission – The bill provides $2.5 million, equal to the request and
       $2.25 million above the fiscal year 2021 level. This funding targets the economic development needs of
       distressed portions of Arizona, California, New Mexico, and Texas.
   •   Nuclear Waste Technical Review Board – The bill provides $3.8 million, equal to the request. The
       Board provides independent technical oversight of the Department of Energy’s nuclear waste disposal
       program.

Division E – Financial Services & General Government
Overview:

The 2022 Financial Services and General Government funding bill includes $25.5 billion, an increase of $1.1
billion over 2021. The legislation:

   •   Assists small businesses and entrepreneurs through the Small Business Administration and Community
       Development Financial Institutions
   •   Protects our democracy with Election Security Grants that ensure the integrity and safety of our
       elections
   •   Rebuilds the Internal Revenue Service to finally crack down on big corporations and the wealthy who
       aren't paying their fair share and to provide better customer service to working families navigating the
       tax system
   •   Supports working and middle-class families by increasing funding for consumer protection activities at
       the Consumer Product Safety Commission and the Federal Trade Commission

Bill Summary:

Department of the Treasury – For fiscal year 2022, the bill provides a total of $14.3 billion in discretionary
appropriations for the Department, an increase of $811 million above the FY 2021 enacted level. Of the total
provided for the Department of the Treasury, the bill includes:
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   •   $295 million for Community Development Financial Institutions, an increase of $25 million above
       the FY 2021 enacted level. The total amount includes $173 million for financial and technical assistance
       grants and $35 million for the Bank Enterprise Award Program to help struggling businesses in
       underserved communities.
   •   $240.5 million for Inspectors General offices within the Treasury Department, an increase of $10
       million above the FY 2021 enacted level, to ensure robust oversight of Departmental policies and
       practices.
   •   $161 million for the Financial Crimes Enforcement Network, an increase of $34 million above the FY
       2021 enacted level, to boost efforts to combat terrorist financing and money laundering.
   •   $195 million for the Office of Terrorism and Financial Intelligence, an increase of $20 million above
       the FY 2021 enacted level, to continue investments to protect the integrity of the financial system.
   •   $80 million for the Department’s Cybersecurity Enhancement Account, an increase of $62 million
       above the FY 2021 enacted level, to address the impacts of the SolarWinds attack and minimize the
       impact of future attacks.
   •   $128 million for the Alcohol and Tobacco Tax and Trade Bureau, an increase of $4 million above the
       FY 2021 enacted level.
   •   Internal Revenue Service (IRS) – The bill includes $12.6 billion for the IRS, an increase of $675
       million above the FY 2021 enacted level. The largest increase since 2001. Additionally, the bill
       provides special funding transfer authority and direct hire authority to address the backlog of returns and
       correspondence. Of this amount, the bill includes:
           o $2.8 billion, an increase of $225 million above the FY 2021 enacted level, for Taxpayer
               Services. This total includes support for the Volunteer Income Tax Assistance Matching Grants
               Program, Low Income Taxpayer Clinic, the Taxpayer Advocate, Tax Counseling for the Elderly,
               and increased personnel to improve IRS customer service.
           o $5.4 billion, an increase of $225 million above the FY 2021 enacted level, for Enforcement.
               These funds support increased enforcement efforts and additional essential personnel.
           o $4.1 billion, an increase of $173 million, including the program integrity allocation adjustment,
               above the FY 2021 enacted level, for Operations Support.
           o $275 million, an increase of $52 million above the FY 2021 enacted level, for Business Systems
               Modernization to modernize IRS legacy systems and improve IRS Web applications.

Executive Office of the President – The bill includes a total of $786 million, an increase of $27 million above
the FY 2021 enacted level.

   •   Office of Administration – The bill provides $106.5 million, an increase of $6.5 million above the FY
       2021 enacted level. The bill also includes language allowing the Office to pay White House and other
       Executive Office of the President interns, in line with recent actions by Congress to pay its interns.
   •   Office of Management and Budget (OMB) – The bill provides $116 million for OMB, an increase of
       $9.4 million above the FY 2021 enacted level.
   •   Office of National Drug Control Policy (ONDCP) – The bill includes a total of $449 million for
       ONDCP, including:
          o $297 million for the High Intensity Drug Trafficking Areas Program, an increase of $7
              million above the FY 2021 enacted level; and
           o $106 million for the Drug-Free Communities Program, an increase of $4 million above the FY
              2021 enacted level.

The Judiciary – The bill includes a total of $8 billion in discretionary appropriations, an increase of $267
million above the FY 2021 enacted level.
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   •   Courts of Appeals, District Courts, and Other Judicial Services – $5.6 billion, an increase of $186
       million above the FY 2021 enacted level, to support court operations and increased services in Probation
       and Pretrial.
   •   Defender Services – $1.3 billion, an increase of $27 million above the FY 2021 enacted level, to
       support the right to the assistance of counsel.
   •   Court Security – $705 million, an increase of $41 million above the FY 2021 enacted level, to support
       security needs and protective services in courthouses, as identified by the U.S. Marshals Service.

Additionally, the bill extends temporary judgeships in several districts.

District of Columbia – The bill includes a total of $775.5 million, an increase of $28 million above the FY
2021 enacted..

   •   $40 million for D.C. Resident Tuition Support, equal to the FY 2021 enacted level.
   •   $25 million for Emergency Planning and Security Costs in DC equal to the President’s request.
   •   $4 million for HIV/AIDS Testing and Treatment to help prevent the spread of HIV/AIDS in the
       District of Columbia.
   •   $8 million, equal to the FY 2021 enacted level, to fund infrastructure improvements for the D.C. Water
       and Sewer Authority.

Independent Agencies:

   •   Consumer Product Safety Commission (CPSC) – The bill funds the CPSC at $139 million, an
       increase of $4 million above the FY 2021 enacted level. Within the total, $2 million is provided for
       Virginia Graeme Baker Pool Safety grants.
   •   Election Assistance Commission (EAC) – The bill provides $75 million for Election Security Grants
       to augment State efforts to improve the security and integrity of elections for Federal office. In addition,
       $20 million is included for EAC operating expenses, an increase of $3 million above the FY 2021
       enacted level.
   •   Federal Communications Commission (FCC) – The bill includes $382 million for the FCC, an
       increase of $8 million above the FY 2021 enacted level, to support efforts to expand broadband access,
       improve the security of U.S. telecommunications networks, and administer billions in COVID relief
       programs.
   •   Federal Trade Commission (FTC) – The bill includes $376.5 million for the FTC, an increase of $25.5
       million above the FY 2021 enacted level, to bolster antitrust, privacy, and consumer protection work.
   •   General Services Administration (GSA) Federal Buildings Fund (FBF) – The bill includes $9.3
       billion in spending authority for the FBF. The total funding level includes:
            o $246 million for construction of U.S. Courthouses in Hartford, CT, Chattanooga, TN and San
               Juan, PR;
            o $581 million for Repairs and Alterations; and
            o $53 million for Special emphasis projects including $15 million for to improve security at federal
               childcare facilities and $20 million to increase security at U.S. courthouses.
   •   National Archives and Records Administration (NARA) – The bill provides a total of $477 million
       for NARA, an increase of $79 million above the FY 2021 enacted level and $51 million above the
       President’s request. This amount includes $2 million for implementation of the Civil Rights Cold Case
       Record Collections Act of 2018, $12.3 million for the National Historical Publications & Records
       Commission Grants Program, $30 million to help prepare for the 250th anniversary of the founding of
       the United States, and $41 million for other repairs and restorations.
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   •   Office of Personnel Management (OPM) – The bill includes $373 million, an increase of $11 million
       above the FY 2021 enacted level, for OPM to manage and provide guidance on Federal human resources
       and administer Federal retirement and health benefit programs.
   •   Securities and Exchange Commission (SEC) – The bill includes $2 billion, an increase of $73.5
       million above the FY 2021 enacted level, for the SEC to monitor the capital and securities markets,
       ensure full disclosure of appropriate financial information, and combat financial fraud and malpractice.
       This amount also includes funding for move costs related to the SEC’s Fort Worth and San Francisco
       regional offices.
   •   Small Business Administration (SBA) – The bill provides a total of $1 billion for SBA, an increase of
       $109 million above the FY 2021 enacted level, to support investments in programs to help underserved
       entrepreneurs access capital and contracting opportunities. The bill includes $290 million, an increase of
       $18 million above the FY 2021 enacted level, for Entrepreneurial Development Programs, including:
           o $138 million for Small Business Development Centers;
           o $37 million for Microloan Technical Assistance;
           o $17 million for the Federal and State Technology Partnership Program, Growth
              Accelerators, and Regional Innovation Clusters; and
           o $24 million for Women’s Business Centers.

Important Policy Changes:
  • Strengthens our democracy:
         o Apportionment Transparency – Includes a new provision requiring OMB to make
             apportionments of appropriations publicly available in a timely manner.
         o Budget Landing Page – Includes new language requiring OMB to create a single landing page
             that links to all Federal agency budget submissions to Congress.
         o Improvements in Budget Execution – Includes new provisions that require budget authority be
             made available prudently for obligation, executive agencies to provide budget and appropriations
             information to the Government Accountability Office (GAO) promptly, and agencies to notify
             Congress of certain delays or restrictions in apportionment of appropriations.
         o Recordkeeping – Includes a new provision related to recordkeeping requirements for certain
             GAO audits.

Division F – Homeland Security
Overview:

The 2022 Homeland Security funding bill provides $81.1 billion in discretionary resources, including $77.9
billion for non-defense programs; $3.2 billion for defense-related programs; and $18.8 billion for major disaster
response and recovery activities. When excluding offsetting collections and major disaster funding, the total
provided in the bill is $57.5 billion, which is $5 billion above the budget request and $5.6 billion above the
FY2021 enacted level. The legislation:

   •   Dramatically increases funding to protect our critical physical infrastructure, prevent cyber-attacks and
       root out cyber intrusions
   •   Invests strongly in maritime security through operational funding and investment in new fleet assets for
       the Coast Guard
   •   Makes responsible investments in border security and respects the dignity of immigrants with new
       funding to improve migrant processing and reduce backlogs in refugee, asylum, and immigration benefit
       applications

Bill Summary:
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Office of the Secretary – The bill provides $271.1 million for the Office of the Secretary and Executive
Management, an increase of $65.2 million above the FY2021 enacted level and an increase of $21.3 million
above the President’s budget request, including:

   •   $23.2 million for the Office of Immigration Detention Ombudsman to investigate and resolve
       complaints regarding misconduct by DHS personnel and violations of the rights of individuals in DHS
       custody, including through unannounced inspections of detention facilities; and
   •   $35 million to be transferred to FEMA, including:
           o $20 million for Targeted Violence and Terrorism Prevention grants; and
           o $15 million for an Alternatives to Detention case management grant pilot program.

Management Directorate – The bill provides $1.637 billion for the Management Directorate, an increase of
$238.5 million above the FY2021 enacted level and $16.5 million below the President’s budget request.

   •   $209.7 million for the continued development of the DHS headquarters campus at St. Elizabeths.
   •   $200 million for joint migrant processing centers, including funds provided in title V of the bill.

Office of Inspector General – The bill provides $205.4 million for the Office of Inspector General, an increase
of $15.2 million above the FY2021 enacted level and equal to the request.

U.S. Customs and Border Protection (CBP) – The bill provides $14.8 billion for CBP, $428.2 million below
the FY2021 enacted level and $25.7 million above the President’s budget request, including:

   •   $30 million for new body worn cameras and video recording equipment for Border Patrol Stations.
   •   $27.5 million for the implantation of the Uyghur Forced Labor Prevention Act.
   •   $23 million for onsite mental health clinicians and resiliency efforts.
   •   $5 million for tuition assistance and $6 million for caregivers and childcare services for CBP employees.
   •   $20 million for the increased efforts in the Office of Trade.
   •   $30 million for processing improvements.
   •   $10 million for Port of Entry Technology.
   •   $72.4 million for new aircraft and aircraft sensors.
   •   $256 million for border technology.
   •   $87 million for non-intrusive inspection systems.
   •   $650 million to compensate for the pandemic related reduction in customs and immigration user fee
       revenue.
   •   $1.0 billion for increased border management requirements.

U.S. Immigration and Customs Enforcement (ICE) – Provides $8.26 billion for ICE, $284.7 million above
the FY2021 enacted level and $266.7 million above the President’s budget request, including:

   •   $2.27 billion for Homeland Security Investigations, an increase of $128.7 million above the FY2021
       enacted level and $99.7 above the request.
   •   $4.18 billion for Enforcement and Removal Operations, $56.9 million above the FY2021 enacted level
       and $109.4 million above the President’s budget request, including:
           o $3.3 billion for Custody Operations and Transportation and Removal, $39.9 million above the
              FY2021 enacted level and $100 million above the President’s budget request; and
           o $442.7 million for Alternatives to Detention, $2.5 million above the FY2021 enacted level and
              $2.2 million above the President’s budget request.
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Provides no funding for additional immigration enforcement personnel.

Provides no additional funding for Immigration Hearing Facilities to support the illegal and inhumane Remain
in Mexico program.

Provides $25 million above the request for ICE’s fleet replacement program to improve the safety of ICE
officers and agents.

Provides $6 million above the request to support data modernization efforts.

Provides $8.5 million above the request to accelerate overdue efforts for ICE’s body-worn cameras pilot
program.

Provides $2.5 million above the request to address gaps in the design and plans for inspections and oversight at
ICE’s civil detention facilities.

Transportation Security Administration (TSA) – Provides $8.49 billion for TSA, $ 176 million above the
FY2021 enacted level and $23 million above the President’s budget request, including:

   •   Provides $131 million for computed tomography screening equipment and credential authentication and
       standoff detection technology.
   •   Fully funds the Visible Intermodal Prevention and Response teams (VIPR); staffing at exit lanes; and
       the Law Enforcement Officer reimbursement program.
   •   $30 million for reimbursements to airports for legacy purchases of in-line explosive detection systems.

Coast Guard – Provides $11.5 billion for the Coast Guard, $515.0 million above the FY2021 enacted level and
$582.4 million above the President’s budget request, including:

   •   $2.0 billion for significant new investments in the Coast Guard’s air and marine fleet, and facilities,
       including:
            o Continued support for the Offshore Patrol Cutter program, Fast Response Cutters, MH-60
               helicopters, Polar Security Cutter and C-130 J aircraft.
            o $354.650 million, which is $75.0 million above the request for shore facilities and other
               infrastructure, including housing for Coast Guard families.
   •   $141.4 million above the request to invest further in Coast Guard operational readiness, personnel and
       their families, including additional investment in cybersecurity, communications, workforce readiness,
       tuition assistance and childcare subsidy.

United States Secret Service (USSS) – Provides $2.6 billion for the USSS, $173 million above the FY2021
enacted level and $39.9 million above the President’s budget request, including:

   •   $6 million for grants related to investigations of missing and exploited children; and
   •   $6 million for additional overtime and retention incentives
   •   $2.3 million for IT support
   •   $5.7 million for basic and advanced computer forensics training for state and local law enforcement
       officers, judges, and prosecutors in support of the Secret Service mission

Cybersecurity and Infrastructure Security Agency (CISA) – Provides $2.6 billion for CISA, $568.7 million
above the FY2021 enacted level and $460 million above the President’s budget request, including:
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   •    $271.9 million to further advance CISA’s Cybersecurity Operations, including
           o a $119.5 million increase for threat hunting, including $95.5 million for the CyberSentry
               program;
           o a $64.1 million increase for vulnerability management;
           o an $11 million increase for the Multi-State Information and Analysis Center, for a total of $38
               million for the center; and
           o a $32.4 million increase for the Continuous Diagnostics and Mitigation program for a total of
               $357.8 million for the program;
   •    $47.7 million for Infrastructure Security and Integrated Operations, including
           o a $17.1 million increase for additional cyber- and protective security advisors and other regional
               support;
           o an $8 million increase for increased public gathering security-related activities; and
           o a $7.5 million increase for bombing prevention activities;
   •    $78.6 million for Emergency Communications, including
           o a $47.6 million increase for Next Generation Networks Priority Services; and
           o a $20 million increase to begin efforts for a Next Generation 911 Ecosystem Program;
   •    $45.7 million for Risk Management Operations; and
   •    $19 million for Stakeholder Engagements and Requirements, including a $10.5 million increase for
        Sector Risk Management Agency Management.

Federal Emergency Management Agency (FEMA) – Provides $23.9 billion for FEMA, $2.19 billion above
the FY2021 enacted level and $159 million below the President’s budget request, including:

   •    $18.8 billion for disaster response and recovery efforts; and
   •    $3.6 billion for Federal Assistance, including:
            o $633 million for the State Homeland Security Grant Program (SHSGP), including $113 million
                for the SHSGP Nonprofit Security Grants Program;
            o $728 million for the Urban Areas Security Initiative (UASI), including $113 million for the
                UASI Nonprofit Security Grant Program;
            o $720 million for firefighter grant programs;
            o $130 million for the Emergency Food and Shelter program.
           o $40 million for the Next Generation Warning System to improve the capabilities of public
                broadcasters to send critical emergency and civil defense warnings;
           o $20 million transferred from the Office of the Secretary for Targeted Violence and Terrorism
                Prevention grants; and
           o $15 million transferred from the Office of the Secretary for an Alternatives to Detention case
                management grant pilot program.

U.S. Citizenship and Immigration Services (USCIS) – Provides $409.5 million for USCIS, $281.7 million
above the FY2021 enacted level and $60 million below the President’s budget request, including:

   •    $275 million for application processing to address USCIS backlogs and delays; and
   •    $20 million for the Citizenship and Integration Grant program.

Other

   •    $1.45 billion in additional support for CBP, ICE, and FEMA to help manage the high volume of
        migrants arriving at the southern border, including:
            o $1.06 billion for CBP for processing facilities; migrant medical care, transportation, personnel
               overtime and other costs;
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           o $239.7 million for ICE for processing capacity, personnel overtime; transportation; and other
               costs; and
           o $150 million for FEMA’s Emergency Food and Shelter Program for nonprofit organizations
               sheltering migrants.
   •   $355.6 million for the Federal Law Enforcement Training Centers, $15.3 million above the FY2021
       enacted level and equal to the President’s budget request.
   •   $886.3 million for the Science and Technology Directorate, $ 120.8 million above the FY2021 enacted
       level and $63.5 million above the President’s budget request.
   •   $50 million for the National Coast Guard Museum.
   •   $452 million for the Countering Weapons of Mass Destruction Office, $49.7 million above the FY2021
       enacted level and $24.6 million above the request, to include $14.5 million for child welfare
       professionals and $13 million for electron health records.

Policy Provisions

   •   Increases the federal share of the cost for response and recovery from 75 percent to at least 90 percent
       for disasters and emergencies that were declared or occurred in 2020 and 2021.

   •   Requires ICE to make information about the 287(g) program publicly available.

   •   Requires ICE to terminate any 287(g) agreement if the DHS Office of Inspector General determines that
       such terms have been materially violated.

   •   Requires ICE to sever contracts with detention facilities that fail two consecutive inspections and
       requires more frequent inspections by ICE’s Office of Professional Responsibility.

   •   Ensures access by Members of Congress to detention facilities.

   •   Prohibits DHS from destroying records related to the death of, potential sexual assault against, or abuse
       of individuals in its custody.

   •   Ensures that information shared with ICE by the Department of Health and Human on potential sponsors
       of unaccompanied children cannot be used by ICE for detention or removal purposes unless the sponsor
       has a dangerous criminal background.

   •   Prohibits DHS from placing pregnant women in restraints except in extraordinary circumstances.

   •   Requires public reporting on requests to DHS by non-DHS law enforcement agencies for law
       enforcement support and requires approval by the Secretary or his designee for support related to a mass
       gathering or protest event.

   •   Requires ICE to publish information on a publicly available website with the numbers and types of
       people in its custody, such as:
          o families and transgender detainees;
          o border apprehension detainees;
          o interior enforcement detainees; and
          o those who are in custody who have a positive credible fear claim.

   •   Provides an exception to a limitation on reorganization authority that allows the Secretary to establish an
       office of the Chief Medical Officer.
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Division G – Interior-Environment
Overview:

The 2022 Interior, Environment, and Related Agencies Appropriations bill, includes $38 billion, an increase of
$1.893 billion over the 2021 enacted level. There is also an additional $2.45 billion of funding provided under
the fire suppression cap adjustment The legislation:

   •   Creates good-paying American jobs through investments in renewable energy development, including
       offshore wind, and a national initiative to reclaim abandoned mines and cap orphan oil and gas wells
   •   Confronts the climate crisis by expanding environmental enforcement efforts and launching a renewed
       focus on land and water conservation
   •   Supports Native American families by investing in a strong and resilient Indian Country, including
       through education and health care programs
   •   Dramatically expands environmental justice efforts to address unacceptable pollution in communities of
       color
   •   Honors the federal government’s responsibilities to Native Americans

Bill Summary:

Department of the Interior (DOI) – The bill provides a total of $14.1 billion in discretionary appropriations
for DOI – $776 million above the 2021 enacted level. Of this amount, the bill includes:

   •   $1.41 billion for the Bureau of Land Management, $101 million above the fiscal year 2021 enacted
       level. Within this amount, the bill includes:
           o No less than $78 million for sage-grouse conservation.
           o $31 million for threatened and endangered species
           o $137 million for the wild horse and burro program, $21 million above the fiscal year 2021
               enacted level.
   •   $1.65 billion for the U.S. Fish and Wildlife Service, $62 million above the fiscal year 2021 enacted
       level. Within this amount, the bill includes:
           o $277 million for Ecological Services, $8 million above the fiscal year 2021 enacted level.
           o $519 million for National Wildlife Refuge System, $15 million above the fiscal year 2021
               enacted level.
           o $23 million for Science Support, $6 million above the fiscal year 2021 enacted level.
   •   $3.26 billion for National Park Service, $142 million above the fiscal year 2022 enacted level. Within
       this amount, the bill includes:
           o $2.77 billion for Operation of the National Park System, $79 million above the fiscal year
               2021 enacted level.
           o $84 million for National Recreation and Preservation, $10 million above the fiscal year 2021
               enacted level.
           o $173 million for the Historic Preservation Fund, $29 million above the fiscal year 2021
               enacted level. Within this amount, the bill includes $74 million for State and Tribal Historic
               Preservation Offices, $26.5 million for Save America’s Treasures grants, $28 million for
               competitive grants to preserve the sites and stories of underrepresented community civil rights,
               and $10 million for grants to Historically Black Colleges and Universities.
   •   $1.39 billion for the U.S. Geological Survey, $79 million above the fiscal year 2021 enacted level.
   •   $164 million for the Bureau of Ocean Energy Management, $36 million above the fiscal year 2021
       enacted level. Within this amount, the bill includes:
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           o $37 million for renewable energy an increase of $8 above the fiscal year 2021 enacted level.
           o $80 million for environmental assessment an increase of $4 million above the fiscal year
               2021 enacted level.
   •   $268 million for the Office of Surface Mining Reclamation and Enforcement, $46 million above the
       fiscal year 2021 enacted level. Within this amount, the bill includes:
           o $118 million for Regulation and Technology, an increase of $25 million above the fiscal year
               2021 enacted level.
           o $149 million the Abandoned Mine Land Reclamation Fund, an increase of $20 million above
               the fiscal year 2021 enacted level.
   •   $3.66 billion for Bureau of Indian Affairs, Bureau of Indian Education, and the Office of the
       Special Trustee, $150 million above the fiscal year 2021 enacted level. Within this amount, the bill
       includes:
           o $1.8 billion for operation of Bureau of Indian Affairs Operation of Indian Programs, $204
               million above the fiscal year 2021 enacted level.
           o Establishes and provides $1 million for a new Indian Land Consolidation account.
           o $147 million for Bureau of Indian Affairs Construction, $18 million above the fiscal year
               2021 enacted level.
           o $11.8 million for the Indian Guaranteed Loan Program, equal to the fiscal year 2021 enacted
               level.
           o $1 billion for Bureau of Indian Education Operation of Indian Programs, $50 million above
               the fiscal year 2021 enacted level.
           o $264 million to Bureau of Indian Education Construction, equal to the fiscal year 2021
               enacted level.
           o Fully funds Contract Support Costs and Payments for Tribal Leases.
           o $109.6 million for the Office of the Special Trustee, $1.2 million above the fiscal year 2021
               enacted level.
   •   $122 million for Office of Insular Affairs, $7 million above the fiscal year 2021 enacted level.
   •   $62 million for Office of Inspector General, $3.6 million above the fiscal year 2021 enacted level.
   •   $95 million for the Office of the Solicitor, $8 million above the fiscal year 2021 enacted level.
   •   $5 million for the new Energy Community Revitalization Program that will be supplemented by funding
       provided in Public Law 117-58.

Environmental Protection Agency (EPA) – The bill provides a total of $9.56 billion in for EPA – $323
million above the 2021 enacted level. Of this amount, the bill includes:

   •   $3.566 billion for EPA’s core science and environmental program work, an increase of $224 million
       above the 2021 enacted level. Within these amounts, the bill includes:
           o $587 million for Geographic Programs which help with restoration of nationally significant
               bodies of water like the Great Lakes, Chesapeake Bay, and Long Island Sound. This is an
               increase of $45 million above the 2021 enacted level.
           o $539 million for environmental compliance monitoring and enforcement activities and
               grants, a $13 million increase above the 2021 enacted level.
   •   $4.352 billion for State and Tribal Assistance Grants, a $38 million increase above the 2021 enacted
       level. Within this amount, the bill includes:
           o $2.77 billion for Clean Water and Drinking Water State Revolving Funds, equal to the 2021
               enacted level.
           o $43 million for Combined Sewer Overflow grants, a $3 million increase above the enacted
               level.
           o $92 million for Brownfields cleanups, a $1 million increase above the 2021 enacted level.
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           o $92 million for Diesel Emissions Reductions grants, a $2 million increase above the enacted
              level.
   •   $1.233 billion for Superfund, a $27 million increase above the 2021 enacted level.
   •   $100 million for Environmental Justice activities, an $83 million increase above the 2021 enacted
       level.

Wildland Fire Management (WFM) - The bill provides $5.48 billion for WFM, which includes, $2.45 billion
in cap adjusted fire suppression funding. The bill provides an increase of $211 million for WFM.

Related Agencies –
   • $3.7 billion for the Forest Service (non-fire), an increase of $239 million above the 2021 enacted level.
   • $6.6 billion for the Indian Health Service for fiscal year 2022, an increase of $395 million above the
       fiscal year 2021 enacted level.
           o $4.7 billion for health services, $359 million above the fiscal year 2021 enacted level.
           o $940 million for health facilities construction, $22 million above the fiscal year 2021 enacted
               level. This continues $5 million to invest in green infrastructure.
           o Fully funds Contract Support Costs and Payments for Tribal Leases.
   • $180 million each for the National Endowment for the Arts and the National Endowment for the
       Humanities, which is $12.5 million more than the 2021 enacted levels.
   • $1.06 billion for the Smithsonian Institution, $29 million above the fiscal year 2021 enacted level.
   • $15 million for the Woodrow Wilson International Center for Scholars, $1 million above the fiscal
       year 2021 enacted level.
   • $40.4 million for the John F. Kennedy Center for the Performing Arts, equal to the 2021 enacted
       level and equal to the President’s budget request.
   • $62.6 million for the United States Holocaust Memorial Museum, $1 million above the fiscal year
       2021 enacted level. The NEVER AGAIN EDUCATION ACT (Public Law 116-141) is fully funded at
       $2 million to enhance the U. S. Holocaust Memorial Museum’s education programming on the
       Holocaust and genocide prevention.

Land and Water Conservation Fund (LWCF) – The bill provides for the allocation of the full $900 million
now permanently available from the Land and Water Conservation Fund as a result of enactment of the Great
American Outdoors Act. These allocations include $418 million for the federal program, $330 million for the
state grants program, and $152 million for other non-federal grant programs.

Outcome of Policy Provisions:
The bill includes the following policy provisions that were previously enacted:
   • Sec. 123 retains restrictions on the issuance of rules for sage grouse.
   • Sec. 428 continues a provision limiting oil and gas development near Chaco Culture National Historical
        Park.
   • Sec. 432 addresses carbon emissions from forest biomass.
   • Sec. 433 addresses the use of small remote incinerators in the State of Alaska.
   • Sec. 436 continues a provision prohibiting the use of funds to promulgate or implement permitting
        requirements under Title V of the Clean Air Act for certain livestock emissions.
   • Sec. 437 continues a provision prohibiting funds to implement any provision that requires reporting
        mandatory greenhouse gas emissions from manure management operations.
   • Sec. 438 retains provision prohibiting funds to regulate the lead content of ammunition or fishing tackle.

Division H – Labor-HHS-Education
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Overview:

The 2022 Labor, Health and Human Services, Education, and Related Agencies funding bill provides $213.6
billion, an increase of $15.3 billion – 7.7 percent – above 2021. The legislation:

   •   Grows opportunity with transformative investments in education, including strong funding increases for
       high-poverty schools and students with disabilities, as well as programs that expand access to post-
       secondary education
   •   Strengthens lifesaving biomedical research with increased funding for the National Institutes of Health,
       and includes funding to establish the Advanced Research Projects Agency for Health
   •   Bolsters our public health infrastructure with more resources for the Centers for Disease Control and
       Prevention and for states and local governments to strengthen infrastructure and capacity
   •   Addresses our nation’s most urgent health crises, including maternal health, mental health, gun violence,
       and substance misuse, while making strides to reduce persistent and unacceptable health disparities
   •   Supports middle class and working families with increased funding for child care and development
       programs, Head Start, and preschool development grants
   •   Creates and sustains good-paying American jobs through investments in job training, apprenticeship
       programs, and worker protection

Bill Summary:

Department of Labor (DOL) – The bill provides a total of $13.2 billion in discretionary appropriations for
DOL, an increase of $653 million above the FY 2021 enacted level. Of this amount, the bill includes:

   •   $9.8 billion for the Employment and Training Administration, an increase of $412 million above the
       FY 2021 enacted level. Within this amount, the bill includes:
           o $2.9 billion for Workforce Innovation and Opportunity Act State Grants, an increase of $34
               million above the FY 2021 enacted level.
           o $95.4 million for Migrant and Seasonal Farmworkers, an increase of $1.5 million above the
               FY 2021 enacted level.
           o $102.1 million for the Reintegration of Ex-Offenders, an increase of $2 million above the FY
               2021 enacted level.
           o $235 million for Registered Apprenticeships, an increase of $50 million above the FY 2021
               enacted level.
           o $99 million for YouthBuild, an increase of $2.5 million above the FY 2021 enacted level.
           o $50 million, an increase of $5 million over the FY 2021 enacted level, to continue and expand
               Strengthening Community College Training Grants to help meet local and regional labor
               market demand for a skilled workforce by providing training to workers in in-demand industries
               at community colleges and four-year partners.
           o $1.7583 billion for Job Corps.
           o $405 million for the Senior Community Service Employment for Older Americans Program.
           o $2.9 billion for operation of the Unemployment Insurance program, an increase of $285
               million above the FY 2021 enacted level. The bill also includes contingency funding to help
               States if there is a spike in unemployment claims.
           o $80 million for Foreign Labor Certification, an increase of $2 million above the FY 2021
               enacted level. Funds will help support Federal oversight and enforcement of regulations and
               assist States in reviewing and conducting oversight of processing applications.

   •   $1.8 billion for Worker Protection Agencies, an increase of $42 million above the FY 2021 enacted
       level. Within this amount, the bill includes:
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          o $251 million for the Wage and Hour Division, an increase of $5 million above the FY 2021
            enacted level.
          o $612 million for the Occupational Safety and Health Administration, an increase of $20
            million above the FY 2021 enacted level
          o $186 million for the Employee Benefits Security Administration, an increase of $5 million
            above the FY 2021 enacted level

   •   $106 million for the Bureau of International Labor Affairs, an increase of $10 million above the FY
       2021 enacted level.

   •   $18 million for the Women’s Bureau, an increase of $3 million above the FY 2021 enacted level.

   •   $60.5 million for the Homeless Veterans Reintegration Program, an increase of $3 million above the
       FY 2021 enacted level.

Department of Health and Human Services (HHS) – The bill provides a total of $108.3 billion for HHS, an
increase of $11.3 billion above the FY 2021 enacted level. Of this amount, the bill includes:

   •   Advanced Research Projects Agency for Health (ARPA-H) – The bill includes $1 billion to establish
       ARPA-H within the HHS Office of the Secretary to accelerate the pace of scientific breakthroughs for
       diseases such as ALS, Alzheimer’s disease, diabetes, and cancer.

   •   National Institutes of Health (NIH) – The bill provides a total of $45 billion for NIH, an increase of
       $2.25 billion above the FY 2021 enacted level. The bill includes an increase of no less than 3.4 percent
       for each Institute and Center to support a wide range of biomedical and behavioral research, as well as
       targeted investments in several high-priority areas, including:
           o $6.9 billion, an increase of $353 million above the FY 2021 enacted level, for the National
               Cancer Institute, including $194 million for the Cancer Moonshot;
           o $3.2 billion, an increase of $289 million above the FY 2021 enacted level for Alzheimer’s
               disease and related dementias research;
           o $3.2 billion, an increase of $104 million above the FY 2021 enacted level, for HIV/AIDS
               research, including an increase of $10 million for the Centers for AIDS Research as part of the
               Ending the HIV Epidemic Initiative;
           o $25 million to implement the Accelerating Access to Critical Therapies for ALS Act;
           o An increase of $30 million to support research on maternal morbidity and mortality through the
               Implementing a Maternal Health and Pregnancy Outcomes Vision for Everyone
               (IMPROVE) initiative;
           o An increase of $50 million for research related to opioids, stimulants, and pain/pain
               management;
           o An increase of $50 million for health disparities research;
           o $12.5 million to continue firearm injury and mortality prevention research;
           o $xxx million, an increase of $xx million above the FY 2021 enacted level, for Universal Flu
               Vaccine Research;
           o $75 million, an increase of $10 million above the FY 2021 enacted level, for the INCLUDE
               Down syndrome research initiative;
           o $59 million, an increase of $8 million above the FY 2021 enacted level, for the Office of
               Research on Women’s Health; and
           o Increased investments in increasing diversity in the biomedical research workforce, including $5
               million above the FY 2021 enacted level for Research Centers in Minority Institutions, an
               increase of $6 million for research workforce programs, and an increase of $10 million to
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           strengthen the Office of the CIO for Scientific Workforce Diversity;

•   Centers for Disease Control and Prevention (CDC) – The bill includes a total of $8.5 billion for
    CDC, an increase of $582 million above the FY 2021 enacted level. This includes $903 million in
    transfers from the Prevention and Public Health Fund.

•   The bill includes significant investments in our nation’s public health infrastructure including:
       o $200 million in a new, flexible funding stream for public health infrastructure and capacity
            nationwide.
       o $100 million, an increase of $50 million above the FY 2021 enacted level, to modernize public
            health data surveillance and analytics at CDC and State and local health departments.
       o $61 million, an increase of $5 million above the FY 2021 enacted level, in public health
            workforce initiatives.
       o $180 million, an increase of $5 million above the FY 2021 enacted level, for the National
            Center for Health Statistics.
       o $715 million, an increase of $20 million above the FY 2021 enacted level, for public health
            emergency preparedness cooperative agreements.

•   The bill provides increases for numerous public health efforts, including:
       o $83 million, an increase $20 million above the FY 2021 enacted level, for safe motherhood and
            infant health.
       o $195 million, an increase of $20 million above the FY 2021 enacted level, for the Ending the
            HIV Epidemic Initiative.
       o $491 million, an increase of $15 million above the FY 2021 enacted level, for opioid overdose
            prevention and surveillance.
       o $182 million, an increase of $10 million above the FY 2021 enacted level, for the antibiotic
            resistance initiative.
       o $647 million, an increase of $54 million above the FY 2021 enacted level, for global health.

•   Substance Abuse and Mental Health Services Administration (SAMHSA) – The bill funds
    SAMHSA at $6.5 billion – an increase of $530 million above the FY 2021 enacted level. SAMHSA
    funding includes:

       o Mental Health: $2 billion, an increase of $288.8 million over the FY 2021 enacted level,
         including an $100 million increase to the Mental Health Block Grant (MHBG), making
         investments across the behavioral health continuum to support prevention, screening, treatment,
         and other services.
       o Mental health resources for children and youth: $120 million for Project AWARE, an
         increase of $13 million above the FY 2021 enacted level; $81.8 million for the National Child
         Traumatic Stress Initiative, an increase of $10 million above the FY 2021 enacted level; and
         $10 million for Infant and Early Childhood Mental Health, an increase of $2 million above
         the FY 2021 enacted level.
       o Suicide prevention: $101.6 million for the Suicide Lifeline, an increase of $77.6 million above
         the FY 2021 enacted level to support the implementation of the Lifeline’s new 988 number; $5
         million to create a new Behavioral Health Crisis and 988 Coordinating Office; and $38.8
         million for Garrett Lee Smith Youth Suicide Prevention grants, an increase of $2.3 million
         above the FY 2021 enacted level.
       o Increases the mental health crisis systems set-aside in the MHBG to 5 percent of the total.
       o Creates a new Mental Health Crisis Response Partnership Pilot Program, which will provide
         $10 million to help communities create mobile behavioral health crisis response teams.
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       o Substance use treatment: $3.9 billion, an increase of $99.8 million above the FY 2021 enacted
         level, including continued funding for opioid prevention and treatment, recovery, and tribal-
         focused treatment efforts. This includes $1.85 billion, an increase of $50 million above the FY
         2021 enacted level, for the Substance Abuse Prevention and Treatment Block Grant
         (SABG); $1.525 billion for State Opioid Response Grants, an increase of $25 million over the
         FY 2021 enacted level; $34.9 million for Pregnant & Postpartum Women, an increase of $2
         million above the FY 2021 enacted level; $13 million for Building Communities of Recovery,
         an increase of $3 million above the FY 2021 enacted level; and $101 million, an increase of $10
         million, for Medication Assisted Treatment.
       o Substance abuse prevention: $218.2 million, an increase of $10 million above the FY 2021
         enacted level. This includes $127.4 million for the Strategic Prevention Framework, an
         increase of $8 million above the FY 2021 enacted level; and $12 million for the Sober Truth on
         Preventing Underage Drinking (STOP Act), an increase of $2 million.

•   Health Resources and Services Administration (HRSA) – The bill includes $8.9 billion for HRSA, an
    increase of $1.4 billion above the 2021 enacted level. The amount includes:

       o $1.7 billion, an increase of $65 million above the FY 2021 enacted level, for the Health Centers
         program, including $30 million, an increase of $25 million, to support school-based health
         centers, and $5 million to establish the Alcee L. Hastings Program for Advanced Cancer
         Screening in Underserved Communities;
       o $2.5 billion, an increase of $71 million above the FY 2021 enacted level, for the Ryan White
         HIV/AIDS program;
       o $122 million, an increase of $20 million, in Health Centers and $125 million, an increase of $20
         million, in the Ryan White HIV/AIDS program for the Ending the HIV Epidemic Initiative;
       o $1.3 billion, an increase of $72 million above the FY 2021 enacted level, for HRSA’s Bureau of
         Health Professions programs to support health workforce development, including:
              $5 million to establish the Pediatric Subspecialty Loan Repayment Program;
              $24 million, an increase of $8 million above the FY 2021 enacted level, for the
                 Substance Use Disorder Treatment and Recovery Loan Repayment Program; and
              $375 million, an increase of $25 million above the FY 2021 enacted level, for Children’s
                 Hospitals Graduate Medical Education;
       o $1 billion, an increase of $43 million above the FY 2021 enacted level, for programs to improve
         maternal and child health, including:
              $748 million, an increase of $35 million above the FY 2021 enacted level, for the
                 Maternal and Child Health Block Grant;
              $12 million, an increase of $3 million above the FY 2021 enacted level, for Alliance for
                 Maternal Health Safety Bundles;
              $29 million, an increase of $6 million above the FY 2021 enacted level, for State
                 Maternal Health Innovation Grants;
              $4 million, an increase of $1 million above the FY 2021 enacted level, for the Maternal
                 Mental Health Hotline;
              $132 million, an increase of $4 million above the FY 2021 enacted level, for Healthy
                 Start;
              $6.5 million, an increase of $1.5 million above the FY 2021 enacted level, for Screening
                 and Treatment for Maternal Depression and Related Disorders.
       o $366 million, an increase of $37 million above the FY 2021 enacted level, for Rural Health
         Programs, including $5 million to establish the Rural Emergency Hospitals Technical
         Assistance Program and $6 million, an increase of $1 million, for the Rural Maternity and
         Obstetrics Management Strategies (RMOMS) program.
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•   Agency for Healthcare Research and Quality (AHRQ) – The bill provides $350 million for AHRQ,
    an increase of $12 million above the FY 2021 enacted level.

•   Centers for Medicare & Medicaid Services (CMS) – The bill provides a total of $4 billion for CMS
    administrative expenses, an increase of $50 million above the FY 2021 enacted level.

•   Administration for Children and Families (ACF) – The bill provides $29.9 billion in discretionary
    funding for ACF, an increase of $5.2 billion above the FY 2021 enacted level.
       o Early childhood education programs receive an increase of $558 million above the FY 2021
           enacted level:
                $6.2 billion for the Child Care and Development Block Grant, an increase of $254
                  million above the FY 2021 enacted level;
                $11 billion for Head Start, an increase of $289 million above the FY 2021 enacted level;
                  and
                $290 million for Preschool Development Grants, an increase of $15 million above the
                  FY 2021 enacted level.
       o $3.8 billion for the Low Income Home Energy Assistance Program, an increase of $50 million
           above the FY 2021 enacted level.
       o $755 million for the Community Services Block Grant, an increase of $10 million above the
           FY 2021 enacted level.
       o $161 million for Child Abuse Prevention and Treatment Act (CAPTA) State Grants and
           Community Based Child Abuse Prevention (CBCAP) programs, an increase of $10 million
           above the FY 2021 enacted level.
       o $200 million for Family Violence and Prevention Services Act (FVPSA) programs, an
           increase of $17.5 million above the FY 2021 enacted level.
       o $15.5 million for the Domestic Violence Hotline, an increase of $2.5 million above the FY 2021
           enacted level.

•   Administration for Community Living (ACL) – The bill funds ACL at $2.3 billion, an increase of $60
    million above the FY 2021 enacted level. This amount includes:

       o $967 million for Senior Nutrition programs, an increase of $15 million above the FY 2021
         enacted level;
       o $399 million for Home and Community-based Supportive Services, an increase of $6 million
         above the FY 2021 enacted level;
       o $205 million for Family and Native American Caregivers Services, an increase of $6 million
         above the FY 2021 enacted level;
       o $36 million for Grants for Native Americans, an increase of $1 million above the FY 2021
         enacted level; and
       o $8.1 million for the Lifespan Respite Program, an increase of $1 million above the FY 2021
         enacted level.

•   Office of the Secretary—General Departmental Management – The bill provides $571 million, an
    increase of $20.5 million above the FY 2021 enacted level. The amount includes:

       o $64.8 million for the Office of Minority Health, an increase of $3 million above the FY 2021
         enacted level.
       o $56.9 million for the Minority HIV/AIDS Initiative, an increase of $1.5 million above the FY
         2021 enacted level.
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           o $38.1 million for the Office on Women’s Health, an increase of $3 million above the FY 2021
             enacted level.
           o $5 million for KidneyX, equal to the FY 2021 enacted level, for a public-private partnership to
             accelerate the development and adoption of novel therapies and technologies to improve the
             diagnosis and treatment of kidney diseases.

   •   Office of the Secretary—Public Health and Social Services Emergency Fund (PHSSEF) – The bill
       provides $3.2 billion for PHSSEF, an increase of $352 million above the FY 2021 level.

   •   The bill provides funding to improve the nation’s preparedness for public health emergencies, including:
          o $300 million, an increase of $13 million above the FY 2021 enacted level, for pandemic
               influenza.
          o $745 million, an increase of $148 million above the FY 2021 enacted level, for the Biomedical
               Advanced Research and Development Authority (BARDA).
          o $780 million, an increase of $10 million above the FY 2021 enacted level, for Project
               BioShield.
          o $845 million, an increase of $140 million above the FY 2021 enacted level, for the Strategic
               National Stockpile.
          o $21 million, an increase of $15 million above the FY 2021 enacted level, to expand the number
               of Regional Ebola and Other Special Pathogen Treatment Centers.

Department of Education (ED) – The bill provides a total of $76.4 billion in discretionary appropriations for
ED, an increase of $2.9 billion above the FY 2021 enacted level. Of this amount, the bill includes:

   •   K-12 Education, including Individuals with Disabilities Education Act programs—The bill
       provides $42.6 billion, an increase of $2 billion over the fiscal year 2021 enacted level. Within this
       amount, the bill provides:
          o $17.5 billion for Title I Grants to Local Educational Agencies, an increase of $1 billion above
              the FY 2021 enacted level. This is the largest increase in the program in more than a decade.
          o $14.5 billion for Special Education, an increase of $448 million above the FY 2021 enacted
              level. The amount includes:
                   $13.3 billion for Part B Grants to States, an increase of $406 million above the FY
                      2020 enacted level, and
                   $31 million for Special Olympics education programs, an increase of $7 million above
                      the FY 2021 enacted level.
          o $831 million for English Language Acquisition, an increase of $34 million above the FY 2021
              enacted level.
          o $2.2 billion for Supporting Effective Instruction State Grants (Title II-A), an increase of $27
              million above the FY 2021 enacted level.
          o $1.3 billion for Student Support and Academic Enrichment State Grants, an increase of $60
              million above the FY 2021 enacted level.
          o $1.3 billion for Nita M. Lowey 21st Century Community Learning Centers, an increase of
              $30 million above the FY 2021 enacted level.
          o $1.6 billion for Impact Aid, an increase of $56 million above the FY 2021 enacted level.
          o $124 million for Magnet Schools Assistance, an increase of $15 million above the FY 2021
              enacted level.
          o Continued support for a Social and Emotional Learning (SEL) Initiative to support SEL and
              “whole child” approaches to education. Within this amount, the bill provides:
                   $82 million, an increase of $15 million over the FY 2021 enacted level, for grants for
                      evidence-based, field-initiated innovations that address student social, emotional, and
                      cognitive needs within the Education Innovation and Research program;
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                 $85 million, an increase of $5 million over the FY21 enacted level, for the Supporting
                  Effective Educator Development (SEED) program with a priority for teacher
                  professional development and pathways into teaching that provide a strong foundation in
                  implementing SEL and “whole child” strategies;
                 $111 million within School Safety National Activities for Mental Health Services
                  Professional Demonstration Grants and School-Based Mental Health Services Grants, an
                  increase of $95 million over the FY 2021 enacted level, to help LEAs directly increase
                  the number of mental health and child development experts in schools; and
                 $75 million, an increase of $45 million over the FY 2021 enacted level, for Full-Service
                  Community Schools to provide comprehensive services and expand evidence-based
                  models that meet the holistic needs of children, families, and communities.

•   Career, Technical and Adult Education—The bill provides $2.1 billion for Career, Technical and
    Adult Education, an increase of $61 million above the FY 2021 enacted level. This amount includes:

       o $1.38 billion for CTE State Grants, an increase of $45 million above the FY 2021 enacted
         level, and
       o $690 million for Adult Education State Grants, an increase of $16 million above the FY 2021
         enacted level.

•   Student Financial Assistance— The bill provides $24.6 billion for Federal student aid programs, an
    increase of $35 million above the FY 2021 enacted level. Within this amount, the bill provides:

       o $6,895 for the maximum Pell Grant, an increase of $400 above the FY 2021 enacted level. This
         is the largest increase in the maximum award in more than a decade.
       o $895 million for the Federal Supplemental Educational Opportunity Grant program, an
         increase of $15 million above the FY 2021 enacted level.
       o $1.21 billion for Federal Work Study, an increase of $20 million above the FY 2021 enacted
         level.

•   Higher Education— The bill provides $3 billion for higher education programs, an increase of $452
    million above the FY 2021 enacted level.
        o Within this amount, the bill provides $885 million, an increase of $96 million over the FY 2021
           enacted level, to assist primarily Minority Serving Institutions (MSIs) in the Aid for
           Institutional Development account, including:
                $363 million for Historically Black Colleges and Universities, an increase of $25
                    million above the FY 2021 enacted level.
                $183 million for Hispanic Serving Institutions, an increase of $34 million above the FY
                    2021 enacted level.
                $44 million for Tribally Controlled Colleges and Universities, an increase of $6
                    million above the FY 2021 enacted level.
        o The bill also provides investments in the following higher education programs:
                $1.14 billion for Federal TRIO programs, an increase of $40 million above the FY
                    2021 enacted level.
                $378 million for GEAR UP, an increase of $10 million above the FY 2021 enacted level.
                $59 million for Teacher Quality Partnerships, an increase of $7 million above the FY
                    2021 enacted level.
                $65 million for the Child Care Access Means Parents in School, an increase of $10
                    million above the FY 2021 enacted level.
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   •   Howard University— The bill provides $344 million for Federal student aid programs, an increase of
       $93 million above the FY 2021 enacted level. Within this amount, the bill provides $100 million to
       support new construction for Howard University Hospital.

Related Agencies –

   •   $1.2 billion for the Corporation for National and Community Service (CNCS), an increase of $30
       million above the FY 2021 enacted level.
           o Within the total amount, the bill includes:
                    $467 million for AmeriCorps State and National Grants, an increase of $12 million
                       over the FY 2021 enacted level.
                    $231 million for SeniorCorps programs, an increase of $6 million over the FY 2021
                       enacted level.

   •   $525 million for the Corporation for Public Broadcasting (CPB), in 2024 advance funding, an
       increase of $50 million above the FY 2023 enacted level. In addition, the bill includes $20 million for
       the interconnection system and system wide infrastructure, equal to the FY 2021 enacted level.

   •   $268 million for the Institute of Museum and Library Services, an increase of $11 million above the
       FY 2021 enacted level.
          o Within the total amount, the bill includes $4 million for the National Museum of the American
             Latino Act.

   •   $13.3 billion for the Social Security Administration’s (SSA) operating expenses, an increase of $411
       million above the FY 2021 enacted level.

Division I – Legislative Branch
Overview:

The 2022 Legislative Branch funding bill appropriates a total of $5.925 billion, an increase of $625 million or
11.8 percent, over 2021. The legislation:

   •   Strengthens Legislative Branch capacity by increasing funding for Congressional offices by 21 percent
       so they can recruit and retain a talented and diverse workforce
   •   Protects our democracy with funding, building on the emergency supplemental passed in July, to secure
       the United States Capitol
   •   Improves training and bolsters wellness support for the Capitol Police, who were attacked on January 6
   •   Grows opportunity by increasing funding for internships to support more interns from working and
       middle-class families

Bill Summary:

House of Representatives – The bill provides a total of $1.715 billion in discretionary appropriations for the
House of Representatives, an increase of $238 million above the FY 2021 enacted level.

   •   $774.4 million for the Members Representational Allowance (MRA), the basic office budgets of
       House Members, an increase of $134.4 million (21%) above the FY 2021 level. This is the largest
       increase in the MRA appropriation since its authorization in 1996.
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   •   $34.95 million for the offices of the Majority and Minority Leadership, an increase of $6 million
       (21%) above the FY 2021 level.
   •   $18.2 million in funding for paid interns for Member and Leadership offices including $2.3 million in
       new funding for interns within Committee offices. This allowance helps extend internship opportunities
       to people who may not be financially able to take an unpaid position.
   •   $197 million for the operations of House committees, an increase of $34.2 million (21%) above the FY
       2021 level. This appropriation will cover the funding allocated to committees for 2021 by the biennial
       funding resolution adopted by the House in the 1st session of the 117th Congress (H. Res. 316).
   •   $288.5 million for the salaries and expenses of House officers and employees, including the offices of
       the Clerk of the House, Sergeant at Arms, Chief Administrative Officer (CAO), Parliamentarian, and
       Legislative Counsel, among others. This in an increase of $27.7 million above the FY 2021 level.
           o Within this funding, $27.7 million is provided for the Sergeant at Arms, $4.4 million above the
               FY 2021 level; $12.6 million for the Office of Legislative Counsel, $688,000 above the FY 2021
               level; and $3 million for the Office of Diversity and Inclusion, $1.5 million above the FY 2021
               level.
   •   $2 million for the House Modernization Initiatives Account to make Congress more effective,
       efficient, and transparent on behalf of the American people.
   •   $9.294 million the Congressional Green and Gold Congressional Aide Program (formerly Wounded
       Warrior Program/Gold Star Families), an increase of $5.3 million above the FY 2021 level.

Other Agencies

   •   $60.9 million for the Congressional Budget Office (CBO), an increase of $3.7 million above the FY
       2021 level. This funding level will allow CBO to be responsive to Committees, Leadership and
       Members to the greatest extent practicable and to modestly increase its efforts to improve modeling and
       analytical capability in key areas and to make its work as transparent and accessible as possible.
   •   $124.2 million for the Government Publishing Office, an increase of $7.2 million above the FY 2021
       level. This funding allows for the publishing of Congressional information in both digital and print
       formats.
   •   $719.2 million for the Government Accountability Office (GAO), an increase of $58.1 million above
       the FY 2021 level. This funding should allow the GAO to bring on 190 additional staff, including for
       the Science, Technology Assessment and Analytics Team, to handle its large workload, and to begin to
       address its information technology and building renovation needs.
   •   $794.0 million, an increase of $37 million above the FY 2021 level, for the Library of Congress,
       including the Copyright Office, Congressional Research Service, and National Library Service for the
       Blind and Print Disabled. This funding level will allow continued progress on urgent information
       technology needs and on modernization of systems for copyright registration and recordation and
       support ongoing Library initiatives such as the Veterans’ History Project.
           o Of the amount for the Library, the bill includes $129.1 million for Congressional Research
               Service, an increase of $3.6 million above FY 2021 level.
           o The Library’s total includes $10 million for the third, and final installment of funding for the
               Library’s Visitor Experience initiative, subject to the Appropriations Committees’ review of the
               specific plans, cost estimates, and schedules for the initiative. It also includes $5 million for
               modernizing the infrastructure that handles distribution of audio and Braille reading materials at
               the National Library Service for the Blind and for purchase of braille e-readers.
   •   $773.9 million for the Architect of the Capitol, an increase of $98.8 million above the FY 2021 level.
       Funding includes $128 million to continue restoration of the Cannon House Office Building.
   •   $602.5 million for the Capitol Police, an increase of $87 million above the FY 2021 level. Funding will
       allow for the hiring of up to 2,112 sworn officers and 450 civilian members of the Capitol Police. The
       Committee report includes several significant measures to help bring more transparency, diversity, and
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       leadership training, and standardize vetting and routinely review staff for employment suitability with
       the Capitol Police.

Noteworthy Actions:

   •   Honoring Heroes -The bill directs the AOC to affix a honorific plaque on the Western front of the
       Capitol honoring the law enforcement officers and agencies that responded to the attack on the United
       States Capitol on January 6

Division J – Military Construction & Veterans Affairs
Overview:

The 2022 Military Construction, Veterans Affairs, and Related Agencies Appropriations bill provides $284.6
billion, an increase of $32.7 billion – more than 13 percent – above 2021. Of this amount, discretionary funding
for programs such as Veterans’ health care and military construction totals $127.6 billion, an increase of $14.4
billion above 2021. The legislation:

   •   Supports our Veterans with investments in health care, including targeted investments that advance
       women's health, mental health, and homelessness assistance
   •   Rebuilds our infrastructure with strong investments to construct critical facilities on military installations
       including family housing and child development centers, and build, repair, and retrofit Veterans Affairs
       facilities
   •   Protects our national security with investments to respond to the challenges posed by Russian and
       Chinese aggression
   •   Confronts the climate crisis with increased climate change and resiliency funding to help military
       installations adapt to rising sea levels and worsening natural disasters
   •   Responds to natural disasters by providing funding for recovery and rebuilding of damaged installations
   •   Remediates harmful substances and chemicals leaked into the land and water sources

Bill Summary:

Military Construction – The bill provides a total of $14.9 billion for military construction – $6.8 billion above
the 2021 enacted level and $5 billion above the President’s budget request. Of this amount, the bill includes:

   •   $224 million for Child Development Centers, of which $33 million is for planning and design for
       future facilities, and in total is $204 million above the FY 2022 budget request. The funds will support
       increased capacity and better facilities for the 1.2 million children of active duty servicemembers
       worldwide.
   •   $1.4 billion for Family Housing, an increase of $87 million above the 2021 enacted level and the same
       as the budget request. Within this amount, Family Housing Support and Management is funded at
       $116.2 million to address issues such as mold, vermin, and lead in military family housing.
   •   $928.9 million for construction or alteration of Guard and Reserve facilities in states and territories, an
       increase of $332.8 million above the 2021 enacted level and $259 million above the FY 2022 budget
       request.
   •   $215.9 million for the NATO Security Investment Program, an increase of $42.8 million above the
       2021 enacted level and $10 million above the FY 2022 budget request, for infrastructure necessary for
       wartime, crisis, and peace support and deterrence operations, and training requirements. The funds will
       support responses to the challenges posed by Russian aggression as well as the risks and threats
       emanating from the Middle East and North Africa.
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   •   $529.6 million for Base Realignment and Closure, an increase of $49.2 million above the 2021
       enacted level and $245 million above the FY 2022 budget request. Within this amount, cleanup of
       Perfluorooctane Sulfanate and Perfluorooctanoic Acid (PFOS/PFOA) contamination is funded at $150
       million.
   •   $4.3 billion for all eligible, authorized Unfunded Requirement (UFR) projects.
   •   $150 million for Natural Disaster Recovery Construction, to be distributed between the Air Force and
       Navy & Marine Corps.
   •   $20 million for the Army National Guard transformation plan project planning and design towards
       future facilities.
   •   $1.1 billion for Barracks for Unaccompanied Soldiers at various locations, $787 million above the FY
       2022 budget request.
   •   $120 million for Climate Change and Resiliency projects, which is $106 million above the FY 2021
       enacted level, and $120 million above the FY 2022 budget request.
   •   $625 million for Shipyard Infrastructure Optimization Plan (SIOP) projects, which is $465 million
       above the FY 2021 enacted level, and $219 million above the FY 2022 budget request.
   •   $125 million for planning and design, unspecified minor construction, and authorized major construction
       projects to address priority Defense laboratory requirements.
   •   $58.6 million for INDOPACOM planning and design to advance future projects.

Department of Veterans Affairs (VA) – The bill provides a total of $112.2 billion in discretionary
appropriations for VA, an increase of $7.8 billion above the 2021 enacted level and $755 million below the
President’s budget request. These resources will serve to expand access to services for Veterans and will boost
oversight and accountability across the department. Of this amount, the bill includes:

   •   $97.5 billion for Veterans Medical Care, an increase of $7.5 billion above the 2021 enacted level and
       equal to the President’s budget request. This will provide care for 7.1 million patients expected to be
       treated by VA in FY 2022. This amount includes:
           o $13.2 billion for Mental Healthcare, an increase of $2.9 billion above the 2021 enacted level
               and equal to the President’s budget request, including $598 million for suicide prevention
               outreach. This will support the nearly 2 million Veterans who receive mental health services in a
               VA specialty mental health setting, as well as support suicide prevention services like the
               Veterans Crisis Line, which saw an increase in demand by over 59 percent in the last year.
           o $840.4 million for Gender-specific Care and Programmatic Efforts for Women, an increase
               of $111 million above the comparable 2021 enacted level and $30 million above the President’s
               budget request. Women are the fastest growing cohort within the Veteran community, with
               nearly 561,000 women Veterans using VA health services.
           o $2.2 billion for Homeless Assistance Programs, an increase of $246 million above the 2021
               enacted level and equal to the President’s budget request. This funding will enhance VA’s ability
               to reach homeless Veterans, which is particularly crucial as the most recent homelessness survey
               showed that on a given night in January 2021, an estimated 19,750 Veterans were experiencing
               homelessness.
           o $621 million for Opioid Abuse Prevention, an increase of $149 million above the 2021 enacted
               level and equal to the President’s budget request. This funding will allow for more targeted
               funding of pain management and opioid safety programs primarily at the facility level.
           o $327.5 million for Rural Health Initiatives, an increase of $27.5 million above the 2021
               enacted level and $20 million above the President’s budget request. This will build upon VA’s
               success in having served 2.9 million Veterans at 600 rural serving sites.
           o $84 million for Whole Health Initiatives, an increase of $10 million above the 2021 enacted
               level and $10 million above the President’s budget request. This will enable VA to build upon
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                the success of this program that focuses on Veterans’ overall health and well-being, which has
                already reached 346,629 Veterans, or 7.41 percent of active VA users.
   •   Additionally, the bill includes $111.3 billion in advance fiscal year 2023 funding for Veterans’ medical
       care – equal to the President’s budget request. This funding will provide for medical services, medical
       community care, medical support and compliance, and medical facilities, and ensure that our Veterans
       have continued, full access to their medical care needs.
   •   $882 million for Medical and Prosthetic Research, an increase of $67 million above the 2021 enacted
       level and equal to the President’s budget request. This funding will allow VA to fund approximately
       2,563 total projects, support more than 1,700 researchers, and partner with more than 200 medical
       schools and other academic institutions.
   •   $2.5 billion to continue implementation of the VA Electronic Health Record Modernization initiative,
       $127 million below the 2021 enacted level and $163 million below the President’s budget request. These
       funds will allow VA to support continued deployment of the new electronic health record (EHR) system
       at VA medical centers and allow for intensive staff training, critical to the success of the effort. The bill
       also continues robust oversight of this program, including by the Government Accountability Office, to
       ensure that the EHR system is implemented in a timely and efficient manner.
   •   $2.2 billion for VA Construction, an increase of $458 million above the 2021 enacted level and equal
       to the President’s budget request. Within this amount, $1.6 billion is for Major Construction and $553
       million is for Minor Construction. This increase will support VA’s highest priority projects and correct
       critical seismic and safety deficiencies and address other performance gaps at VA facilities to ensure
       that Veterans can access care in modern facilities that are safe, secure, sustainable, and accessible.
   •   $3.5 billion for operating expenses of the Veterans Benefits Administration, an increase of $274
       million above the 2021 enacted level and $31 million above the President’s budget request, to ensure the
       prompt processing of disability claims and efforts to continue reducing the disability claims backlog.
       These funds will allow VA to complete an estimated 1.7 million disability compensation claims in 2022
       and support service-connected compensation payments to an estimated 5.5 million Veterans, 500,000
       survivors and dependents. In addition, pension payments will be funded for more than 350,000 Veterans
       and survivors. The bill also continues rigorous reporting requirements to track each regional office’s
       performance on claims processing and appeals backlogs.
            o The funding provided above the budget request will help VA address claims for benefits due to
                newly identified service-connected health conditions related to toxic exposures.
            o Additionally, the bill includes $161 billion in advance mandatory funding for VA benefit
                programs.

Related Agencies – The bill provides a total of $434.2 million in discretionary appropriations for related
agencies, an increase of $155.9 million above the 2021 enacted level and $4.4 million above the President’s
budget request. Of this amount, the bill includes:

   •   $228 million for Arlington National Cemetery, including $141 million to continue the urgently needed
       Southern Expansion project that will create 80,000 additional burial spaces. This is an increase of $146.2
       million above the 2021 enacted level and equal to the President’s budget request.

   •   $87.5 million for the American Battle Monuments Commission, $3.4 million above the fiscal year
       2021 enacted level and $2.7 million more than the President’s budget request. This will support
       continued maintenance of the graves of 124,000 American war dead in overseas cemeteries, as well as
       visitor and education services for the more than 3 million visitors expected to visit these sites in FY
       2022.
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   •   $77 million for the Armed Forces Retirement Home, $1.7 million above the 2021 enacted level and
       $1.7 million above the President’s budget request. This will support the needs of the over 800 residents
       at the two retirement home campuses and invest in critical life and safety infrastructure improvements.

Division K – State and Foreign Operations
Overview:

The 2022 State, Foreign Operations, and Related Programs Appropriations bill provides $56.1 billion, which is
$595 million above 2021. In addition, the legislation includes $6.8 billion in humanitarian, economic, and
security assistance for Ukraine, the countries affected by the situation in Ukraine, and other assistance to
vulnerable populations and communities, and $5 billion to enhance the global COVID response. This
legislation:

   •   Invests in Global Health and the Prevention of Future Pandemics by including $9.83 billion to support
       the health of families and communities around the world, a $634 million increase over FY2021 enacted.
       Included is a substantial investment in global health security to prevent future pandemics through both
       bilateral and multilateral mechanisms. The legislation also includes an additional $5 billion to enhance
       the global COVID response.
   •   Provides $6.8 billion in humanitarian assistance to address the historic levels of global displacement and
       humanitarian need resulting from natural disasters, conflict, and the pandemic, and to rebuild the U.S.
       Refugee Admissions program.
   •   Recommends over $1.5 billion to address the Climate Crisis and other environmental issues.
   •   Supports women’s health globally by preserving funding for bilateral family planning and reproductive
       health at $575 million and the U.S. contribution to the United Nations Population Fund (UNFPA) at
       $32.5 million.
   •   Provides over $1.6 billion to promote a free and open Indo-Pacific and help counter the growing
       influence of the government of the People’s Republic of China in developing countries.
   •   Increases resources to the Department of the Treasury in order to provide economic relief to vulnerable
       low-income countries recovering from the impacts of the COVID-19 pandemic through both bilateral
       and multilateral programs.

Bill Summary:

State Department Operations and Related Agencies – The bill provides a total of $17.2 billion for the
operational costs of the State Department and related agencies, as well as diplomatic efforts to enhance peace
and stability around the globe.

Within this amount, the legislation provides $5.8 billion for embassy security, the same as the fiscal year 2021
enacted level after adjusting for reduced costs related to Afghanistan. These funds will address needs at more
than 275 diplomatic facilities overseas, including facility upgrades and security personnel.

United States Agency for International Development (USAID) Operations – The bill provides a total of
$1.97 billion for USAID and the USAID Office of Inspector General – an increase of $263 million above the
fiscal year 2021 enacted level. The legislation increases diversity, equity, inclusion, and accessibility initiatives
in addition to supporting increased foreign service and civil service personnel, including for global health
security and climate programs.

Bilateral Economic and Global Health Assistance – The bill contains a total of $19.05 billion for bilateral
economic assistance to foreign countries – an increase of $2.34 billion from the fiscal year 2021 enacted
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level. Within this amount, programs that support development assistance, global health, and humanitarian
assistance are prioritized. In addition, the bill includes $5.95 billion to fight HIV/AIDS around the globe.

International Security Assistance – The bill provides a total of $8.9 billion for international security
assistance. Funds are included for international narcotics control and law enforcement activities, antiterrorism
programs, nonproliferation programs, peacekeeping operations, and other critical international security efforts.
The bill also provides funding to fight terrorist financing networks and bolsters border and airport security.

In addition, the legislation provides security assistance to key allies and partners. The bill fully funds the $3.3
billion commitment to Israel’s security, and it maintains strong support for Foreign Military Financing Program
(FMF) assistance for Egypt, Georgia and Jordan.

The legislation also provides $650 million in FMF funding under division N for Ukraine and Eastern European
allies and security partners facing threats from Russia.

Multilateral Assistance – The bill provides $2.37 billion for assistance to foreign countries through
international organizations and banks – an increase of $334 million above the fiscal year 2021 enacted level.
The bill fully provides for our assessed Contributions to International Organizations and continues our
contributions to international financial institutions such as the World Bank’s International Development
Association as well as to other multilateral institutions, including the Global Environment Facility and the
International Fund for Agricultural Development.

The bill supports increased partnership with multilateral institutions on providing additional COVID-19
assistance to combating the climate crisis. In continuation of supporting countries through the pandemic, the
bill provides a new contribution of $102 million to the International Monetary Fund for the Poverty Reduction
and Growth Trust to help low-income countries respond to the economic impacts from the COVID-19
pandemic. The bill provides a new contribution of $125 million to the Clean Technology Fund to combat the
climate crisis and help countries scale up low carbon technologies. The bill also includes a $5 million
contribution to the Global Agriculture and Food Security Program to advance the UN Sustainable Development
Goals on eliminating poverty and hunger.

Export and Investment Assistance – The bill provides $891.5 million for the Export-Import Bank (EXIM),
the United States International Development Finance Corporation (DFC), and the Trade and Development
Agency (TDA). The bill provides $114 million for administrative expenses for EXIM, an increase of $4
million above the fiscal year 2021 enacted level, and provides funds to support EXIM’s China and
Transformational Exports Program to help American exporters compete fairly against PRC-backed competition.

The bill also provides $698 million for the DFC, an increase of $129 million above the fiscal year 2021 enacted
level, to support administrative expenses for increased personnel to manage the DFC’s expanding portfolio,
including its monitoring and evaluation requirements. In addition, $2.8 million is provided for the DFC Office
of Inspector General, an increase of $800,000 above the fiscal year 2021 enacted level, in order to have
sufficient personnel and resources to conduct oversight on the DFC’s portfolio. The bill also provides $79.5
million for the United States Trade and Development Agency, same as the fiscal year 2021 enacted level.

                               Funding for critical programs and organizations:

President’s Emergency Plan for AIDS Relief (PEPFAR), including the Global Fund:
   • $5.95 billion for PEPFAR, including $1.56 billion for the Global Fund – $20 million more than the
       fiscal year 2021 enacted level and the President’s budget request.

Family Planning & UNFPA:
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   •   $575 million for family planning – same as fiscal year 2021 enacted level.
   •   $32.5 million for UNFPA – same as fiscal year 2021 enacted level.

Other Global Health Programs:
   • $3.88 billion for programs to improve maternal and child health and fight infectious diseases, $614
      million above the fiscal year 2021 enacted level and $241 million below the President’s budget
      request. Includes $700 million for Global Health Security, an $510 million increase above the fiscal
      year 2021 enacted level.

Human Rights of All People including LGBTQI+ Communities:
  • $15 million for the Global Equality Fund – $5 million above the fiscal year 2021 enacted level.
  • $10 million for the Protection of LGBTQI+ Persons, USAID – $4 million above the fiscal year 2021
     enacted level.
  • $500,000 for the Special Envoy for the Human Rights of LGBTI Persons – same as the fiscal year 2021
     enacted level.
  • $4 million for disability rights – $1 million above the fiscal year 2021 enacted level.

International Basic Education:
   • $950 million for basic education – the same as the fiscal year 2021 enacted level and $267.5 million
       above the President’s budget request. This includes $150 million for multilateral partnerships in
       education and requires not less than $150 million be spent on girl’s education in areas of conflict.

Humanitarian Assistance:
  • $6.8 billion for humanitarian assistance under the accounts Migration & Refugee Assistance (MRA),
     U.S. Emergency Refugee & Migration Assistance (ERMA), and International Disaster Assistance
     (IDA). In addition, $4 billion under IDA and MRA are included in division N to respond to the situation
     in Ukraine and in countries impacted by the situation in Ukraine and for additional support for other
     vulnerable populations. Division M also includes $500 million in additional funding under IDA and
     MRA to enhance the Global COVID Response.

Educational and Cultural Exchange (ECE) Programs:
  • $753 million for exchange programs - $12.7 million above the fiscal year 2021 enacted level and $11.7
      million above the President’s budget request.

Biodiversity, Wildlife Trafficking, & Climate Initiatives:
   • $385 million for biodiversity - $65 million above the fiscal year 2021 enacted level and $167.3 million
      above the President’s budget request.
   • $125 million for wildlife trafficking - same as the fiscal year 2021 enacted level and $32.3 million above
      the President’s budget request.
   • $149.3 million for the Global Environment Facility, of which $12.7 million is for unmet commitments -
      $9.7 million above the fiscal year 2021 enacted level and the same as the President’s budget request.
   • $125 million for the Clean Technology Fund - $125 million above the fiscal year 2021 enacted level and
      $175 million below the President’s budget request.

Other Environment Programs:
   • $185 million for sustainable landscapes, $50 million above the fiscal year 2021 enacted level and $47.3
      million below the President’s budget request.
   • $270 million for adaptation programs, $93 million above the fiscal year 2021 enacted level and $24
      million below the President’s budget request.
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   •   $260 million for clean energy programs, $77 million above the fiscal year 2021 enacted level and $158
       million less than the President’s budget request.
   •   Provides authority for a contribution to the Adaptation Fund and the Least Developed Countries Fund to
       help countries adapt to new climate realties caused by climate change.

Democracy Programs & National Endowment for Democracy (NED):
  • $2.6 billion for democracy programs - $183 million above the fiscal year 2021 enacted level
  • $315 million for the National Endowment for Democracy - $15 million above the fiscal year 2021
     enacted level and the President’s budget.
  • $340.7 million for Democracy Fund, of which $215.5 million is for the State Department and $125.2
     million for USAID, and increase of $50 million above the fiscal year 2021 enacted level and the
     President’s budget request

Assessed & voluntary contributions for U.N. peacekeeping activities:
   • $1.5 billion for Contributions for International Peacekeeping Activities (CIPA).
   • $455 million for Peacekeeping Operations (PKO), $14.2 million above the fiscal year 2021 enacted level
       and $14.5 million below the President’s budget request.

Assessed & voluntary contributions to international organizations:
   • $1.663 billion to fully fund our assessed Contributions to International Organizations (CIO), including
       for human rights-related arrears.
   • $423 million for International Organizations & Programs (IO&P) – $35.5 million above the fiscal year
       2022 enacted level and $34.1 million below the President’s budget request.
           o Includes significant increases for two critical partners in the global response to climate change –
              the Montreal Protocol Multilateral Fund and the UN Intergovernmental Panel on Climate
              Change/UN Framework Convention on Climate Change.

U.S. Agency for Global Media (USAGM):
   • $860 million for USAGM, which is $57 million above the fiscal year 2021 enacted level and $46.6
       million above the President’s budget request.

Peace Corps:
   • $410.5 million for Peace Corps – same as the fiscal year 2021 enacted level and the President’s budget
      request.

The Asia Foundation:
   • $21.5 million for the Asia Foundation – $1.5 million above the fiscal year 2021 enacted level and
      President’s budget request.

East-West Center:
   • $19.7 million for the East-West Center - same as the fiscal year 2021 enacted level and President’s
      budget request.

Millennium Challenge Corporation (MCC):
   • $912 million for MCC – same as the fiscal year 2021 enacted level and the President’s budget request
      and provides MCC new transfer authority to the DFC for private sector development.

The U.S. Institute of Peace (USIP):
   • $54 million for USIP, which is $9 million above the fiscal year 2021 enacted level.
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The Inter-American Foundation:
   • $42 million for the IAF, which is $4 million above the fiscal year 2021 enacted level.

U.S. African Development Foundation:
   • $40 million for the USADF, which is $7 million above the fiscal year 2021 enacted level.

                          Support for U.S. allies, partners, and programs including:
                               (amounts are included in account totals above)

   •   Assistance for programs in the West Bank and Gaza: Not less than $219 million under Economic
       Support Fund for programs in the West Bank and Gaza serving the Palestinian people, which is $150
       million above the fiscal year 2021 enacted level and $40 million above the President’s budget request.
   •   Assistance for Europe, Eurasia and Central Asia (AEECA): $500 million for the countries of
       Eastern Europe, Eurasia and Central Asia. In addition, $1.12 billion for AEECA is included in division
       N for assistance and related programs for Ukraine and countries impacted by the situation in Ukraine.
   •   Central America: Provides funding to support the U.S. Strategy to Address the Root Causes of
       Migration in Central America, including $61.5 million to combat corruption, strengthen rule of law, and
       advance human rights; $70 million to address violence against women and girls; $100 million to
       promote locally-led development in El Salvador, Guatemala, and Honduras; and $50 million to support a
       new Central America Youth Empowerment Program to engage youth in the region to measurably reduce
       migration. Maintains strong prior year conditions on assistance to the central governments of El
       Salvador, Guatemala, and Honduras.
   •   The Caribbean: Not less than $80 million for the Caribbean Basin Security Initiative, $10 million for a
       new initiative to promote inclusive economic growth, $12 million to strengthen resilience to natural
       disasters, and $6.5 million for the Caribbean Energy Initiative.
   •   Colombia: Not less than $471 million, including $50 million for rule of law and human rights activities
       and $40 million to enhance security in rural municipalities with high coca production or levels of illicit
       activities. Strengthens conditions on assistance to ensure the Government of Colombia is holding
       accountable all those who committed illegal acts against protesters in 2020 and 2021.
   •   Venezuela: Not less than $40 million for democracy programs, as well as funding to support
       Venezuelan migrants in third countries.
   •   Countering Russian Influence Fund: $295 million.
   •   Countering PRC Fund: $300 million
   •   Tibetan Communities: $21 million for Tibetan communities, an increase of $4 million above the fiscal
       year 2021 enacted level; and $1 million for the U.S. Special Coordinator for Tibetan Issues.
   •   The Nita M. Lowey Middle East Partnership for Peace Act: $50 million to support the 2nd year of
       implementation, as authorized.
   •   Israel: $3.3 billion for assistance for Israel, fulfilling the MOU.
   •   Jordan: $1.65 billion for assistance for Jordan.
   •   Egypt: $1.3 billion for security assistance to Egypt, while increasing the amount of assistance subject to
       human rights and democratic governance conditions, including the amount excluded from the
       President’s waiver authority, which also includes new human rights priorities.

                                         Important policy provisions:

Promotes Diversity and Inclusion
   • The bill includes increased funding, authority, and guidance to equip the Secretary of State and USAID
     Administrator to increase diversity, equity, inclusion, and accessibility (DEIA) within the nation’s
     diplomatic and development workforce. The bill includes $8 million for paid internships at the
     Department of State and increases funding for other workforce diversity initiatives at both the
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       Department of State and USAID, including a total of $12 million for the Pickering and Rangel
       Fellowships.
   •   The bill includes not less than $9.5 million for USAID’s DEIA initiatives, including to support the new
       office of the Chief DEIA Officer and to implement USAID’s DEIA strategic plan.

Combatting the Impacts of COVID-19 Pandemic
  • The bill includes $52 million under Debt Restructuring for the Debt Service Suspension Initiative and
     the Common Framework to support low-income countries struggling under debt burdens exacerbated
     during the pandemic.
  • The bill includes $102 million for a contribution to the IMF’s Poverty Reduction Growth Trust that
     helps low-income countries by offering concessional loans.

Emphasizes gender equality:
  • The bill includes $200 million for the Gender Equity and Equality Action Fund, $50 million to support
     women’s leadership, $175 million to prevent and respond to gender-based violence, and $130 million to
     support the Women, Peace and Security Strategy.

Afghan Special Immigrant Visa (SIV) Program:
   • The bill includes authority and direction for the Secretary of State to use the funding in this legislation to
      eliminate processing backlogs and expedite the adjudication of Afghan Special Immigrant (SIV) cases.

Division L – Transportation-Housing & Urban Development
Overview:

The 2022 Transportation, and Housing and Urban Development, and Related Agencies funding bill provides
funding of $81 billion, an increase of $6.4 billion – more than 8 percent – above 2021. This includes a
discretionary increase of $4 billion for the Department of Housing and Urban Development and $1.6 billion for
the Department of Transportation. In total, the bill provides $157 billion in budgetary resources, an increase of
$20.3 billion above 2021. The legislation:

   •   Creates tens of thousands of good-paying American jobs by rebuilding our crumbling infrastructure with
       significant investments in airports, highways, transit, passenger rail, and port systems.
   •   Fully implements the historic investments in the Infrastructure Investment and Jobs Act.
   •   Grows opportunity through homeownership and rental assistance, including up to 25,000 new housing
       choice vouchers targeted to individuals and families experiencing or at risk of homelessness and over
       4,000 new units for seniors and persons with disabilities.
   •   Supports the vulnerable with public housing safety, maintenance and improvement investments, such as
       the remediation of lead paint and radon.
   •   Promotes safe transportation and housing with a skilled and growing workforce to conduct inspections,
       mitigate hazards, and study emerging threats and innovative solutions.
   •   Reduces emissions, increases resiliency, and addresses historical inequities in transportation and housing
       programs through targeted grants and investments.

Bill Summary:

Department of Transportation (DOT)—For fiscal year 2022, the bill provides a total of $102.9 billion in
budgetary resources for DOT – an increase of $16.2 billion above the fiscal year 2021 enacted level and $15.9
billion above the President’s 2022 budget request. The legislation:
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   •   Creates and leverages tens of thousands of additional jobs in construction and related industries.
   •   Improves the safety of our highways, aviation, transit, rail, and port systems.
   •   Fixes roads and highways, expands bicycle and pedestrian infrastructure, supports Federal auto safety
       programs, and invests in the transit state of good repair, consistent with the Infrastructure Investment
       and Jobs Act.

The bill includes:
   • $775 million for National Infrastructure Investments (RAISE/TIGER/BUILD), including not less
        than $20 million for grants to assist areas of persistent poverty and historically disadvantaged
        communities. An additional $25 million is included for a new technical assistance and capacity building
        program to spur Thriving Communities nationwide.
   • Robust increases for Research and Technology to expand research on ways to create more equitable
        access to transportation systems, combat climate change, and reduce greenhouse gas emissions, as well
        as a 79 percent increase in cybersecurity initiatives to safeguard our transportation systems. An
        additional $5 million to support the Highly Automated Systems Safety Center of Excellence to
        coordinate DOT’s technical expertise around automated systems.
   • Improvements to our aviation system by providing $18.1 billion for the Federal Aviation
        Administration (FAA), $495 million above fiscal year 2021, including $1.5 billion for Aviation Safety
        and $554 million for discretionary Airport Improvement Grants and projects.
   • $57.5 billion for the Federal Highway Administration for formula programs funded from the Highway
        Trust Fund that improve the safety and long-term viability of our nation’s highway systems, consistent
        with the Infrastructure Investment and Jobs Act, and $2.4 billion for Highway Infrastructure
        Programs and projects.
   • $856 million for the Federal Motor Carrier Safety Administration and $1.2 billion for the National
        Highway Traffic Safety Administration to make trucks, cars, and the nation’s roads safer, consistent
        with the Infrastructure Investment and Jobs Act.
   • Advances the safety and reliability of our passenger and freight rail systems by providing $3.3 billion
        for the Federal Railroad Administration, an increase of $504 million above fiscal year 2021. This
        includes $625 million for the Consolidated Rail Infrastructure and Safety Improvements grant
        program, $250 million above fiscal year 2021. It also provides $2.3 billion for Amtrak, $331 million
        above fiscal year 2021, including $874.5 million for Northeast Corridor Grants and $1.45 billion for
        National Network Grants.
   • $16.3 billion for the Federal Transit Administration, including $13.4 billion for Transit Formula
        Grants to expand bus fleets and increase the transit state of good repair, consistent with the
        Infrastructure Investment and Jobs Act; $2.3 billion for Capital Investment Grants, $234 million
        above fiscal year 2021; and $504.3 million for Transit Infrastructure Grants and projects.
   • $1.3 billion for the Maritime Administration, $81 million above fiscal year 2021, including $318
        million for the Maritime Security Program, $60 million to establish the Tanker Security Program,
        $234 million for the Port Infrastructure Development Program, and $380.6 million for schoolship
        construction and related shore-side infrastructure, which fully funds the fifth and final schoolship.
   • Community projects identified by more than 145 Members of Congress and 62 Senators on both sides of
        the aisle that increase the safety and viability of our airports, highways, rails, and transit systems.

Department of Housing and Urban Development (HUD)—For fiscal year 2022, the bill provides a total of
$53.7 billion for HUD – an increase of $4 billion above fiscal year 2021. The legislation:

   •   Expands housing choice vouchers to up to 25,000 low-income individuals and families experiencing or
       at risk of homelessness, including survivors of domestic violence and veterans.
   •   Protects housing assistance for more than 4.8 million individuals and families to ensure they continue to
       remain in safe, stable, and affordable housing.
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   •   Includes $11 billion in funding for new affordable housing, critical health, safety, and maintenance
       improvements to ensure the safety and quality of public and low-income housing, and community
       development activities, including $360 million to construct over 4,000 new affordable housing units for
       seniors and persons with disabilities, $1.5 billion in direct funding to states and local governments
       through the HOME Investment Partnerships Program, and significantly increases investments in
       distressed neighborhoods through the Choice Neighborhoods Initiative program.

The bill includes:
   • $27.4 billion for Tenant-based Rental Assistance to continue to serve more than 2.3 million very low-
        and extremely low-income households nationwide. This level of funding also includes $200 million to
        expand housing assistance to up to 25,000 low-income families, including individuals and families
        experiencing or at risk of homelessness, including survivors of domestic violence and veterans. A
        combined $55 million is provided for the HUD/VA Supportive Housing for Homeless Veterans and
        Native American Veterans programs.
   • $8.45 billion for Public Housing, $645.5 million above fiscal year 2021, including $3.2 billion to meet
        the full annual capital accrual need in order to improve the quality and safety of public housing for more
        than 2 million residents.
   • $450 million for Housing Opportunities for Persons with AIDS, to protect housing and services for
        more than 75,000 low-income people living with HIV, an increase of $20 million above fiscal year 2021
        and equal to the President’s budget request.
   • A 75 percent increase in investments to revitalize low-income housing and distressed communities
        through the Choice Neighborhoods Initiative, providing $350 million, an increase of $150 million
        above fiscal year 2021.
   • An increase in supportive services for HUD-assisted households to improve their connections to jobs,
        healthcare, and educational opportunities by providing $159 million for Self-Sufficiency Programs.
   • Expanded housing options and improved living conditions for tribal communities by providing $1
        billion for Native American Programs, an increase of $177 million above fiscal year 2021 and an
        additional $22.3 million for the Native Hawaiian Housing Block Grant program.
   • $10 billion for Community Planning and Development, an increase of $1.75 billion above fiscal year
        2021, including $3.3 billion for Community Development Block Grants. This also includes $1.5
        billion for the HOME Investment Partnerships Program which has helped preserve approximately
        1.33 million affordable homes, an increase of $150 million above fiscal year 2021.
   • More than 18,000 new housing options for people at risk of or experiencing homelessness while also
        continuing assistance to over 750,000 people experiencing homelessness and more than 350,000
        individuals in emergency shelters, by including $3.2 billion for Homeless Assistance Grants, an
        increase of $213 million above fiscal year 2021.
   • $13.9 billion for Project-based Rental Assistance to continue to house more than 1.2 million very low-
        and low-income households nationwide, an increase of $475 million above fiscal year 2021. An
        additional $1 billion is provided for Housing for the Elderly to build approximately 2,200 new
        affordable housing units for low-income seniors and $352 million for Housing for Persons with
        Disabilities to construct approximately 1,800 new affordable housing units for persons with disabilities.
   • $57.5 million for Housing Counseling assistance for renters, homeowners, and those considering
        homeownership and $145.4 million for Policy Development and Research, including $20 million to
        continue legal aid assistance for eviction prevention, a combined increase of $40.4 million above fiscal
        year 2021.
   • Increased enforcement in fair housing by providing $85 million for Fair Housing and Equal
        Opportunity, an increase of $12 million above fiscal year 2021 and equal to the President’s budget
        request.
   • $415 million for the Office of Lead Hazard Control and Healthy Homes, an increase of $55 million
        above fiscal year 2021, including $5 million to continue a radon testing and mitigation demonstration
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       program for public housing and $25 million to initiate a new demonstration program to conduct
       inspections for lead in housing choice voucher units.
   •   Community projects identified by more than 265 Members of Congress and 60 Senators on both sides of
       the aisle to support a variety of targeted housing, economic, and community development investments.

Related Agencies—The bill provides $398 million for the related agencies in the bill, including $166 million
for NeighborWorks to support unique solutions to expand affordable housing options, increase housing
counseling assistance, and strengthen economic development. To strengthen the Federal coordination of
assistance to people experiencing or at risk of homelessness, the bill includes $3.8 million for the U.S.
Interagency Council on Homelessness.
